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                                       EXHIBIT A
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                                                                                                                                                                                                                                                                                                                                                                                                                           PRIVILEGE AND REDACTION LOG

Has Attachments   Parent ID             Bates Range                                 Date         Author           From                                                  To                                                       CC                                                     File Name                                                   Subject Line                                               File Type   Privilege Type    Privilege Description
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
YES               AONCPLSONIC‐0000105   AONCPLSONIC‐0000105 ‐ AONCPLSONIC‐0000108    7/29/2015 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Jakob Onken [jakob.onken@aon.com]                                                                     00000000379086630E61B144B9F0D54A926B722224372100.MSG                  FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                        Gordon Young                                       Sheridan Foster
                                                                                                                                                                        [Gordon.Young@sonichealthcare.com.au];eamadden@ire [sfoster@sonichealthcareusa.com];jcoman@algoodbody
                  AONCPLSONIC‐0000105   AONCPLSONIC‐0000121 ‐ AONCPLSONIC‐0000124    3/19/2010 David Byrne        David Byrne [David.Byrne@tdlpathology.com]            land.com                                           .ie;jonathan.watts@bowewattsclargo.com             RE_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)                  RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   E‐mail including outside counsel and regarding the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000105   AONCPLSONIC‐0000125 ‐ AONCPLSONIC‐0000129    3/19/2010 Robert Connor      Robert Connor [rconnor@sonichealthcareusa.com]        Sheridan Foster [sfoster@sonichealthcareusa.com]                                                                FW_ NCSS Contract Ireland ‐ Insurance                       FW: NCSS Contract Ireland ‐ Insurance                      EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000105   AONCPLSONIC‐0000198 ‐ AONCPLSONIC‐0000204    3/19/2010 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Robert Connor [rconnor@sonichealthcareusa.com]                                                                  RE_ NCSS Contract Ireland ‐ Insurance                       RE: NCSS Contract Ireland ‐ Insurance                      EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000105   AONCPLSONIC‐0000213 ‐ AONCPLSONIC‐0000216    3/19/2010 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Robert Connor [rconnor@sonichealthcareusa.com]                                                              FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)            FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                        David Byrne                                              Sheridan Foster
                                                                                                                                                                        [David.Byrne@tdlpathology.com];eamadden@ireland.co       [sfoster@sonichealthcareusa.com];jcoman@algoodbody
                  AONCPLSONIC‐0000105   AONCPLSONIC‐0000217 ‐ AONCPLSONIC‐0000220    3/22/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    m                                                        .ie;jonathan.watts@bowewattsclargo.com             RE_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)            RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   E‐mail including outside counsel and regarding the negotiation of contract terms.
                                                                                                                                                                                                                                 eamadden@ireland.com;Sheridan Foster
                                                                                                                                                                                                                                 [sfoster@sonichealthcareusa.com];jcoman@algoodbody                                                                                                                                                          E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000105   AONCPLSONIC‐0000221 ‐ AONCPLSONIC‐0000222    3/22/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    david.byrne@tdlpathology.com                             .ie;jonathan.watts@bowewattsclargo.com             FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)            FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding and regarding another e‐mail from 2010 including outside counsel
                  AONCPLSONIC‐0000226   AONCPLSONIC‐0000226 ‐ AONCPLSONIC‐0000230    7/29/2015 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan Foster [sfoster@sonichealthcareusa.com]                                                                00000000C59E511A9877154FAD6343EC2F9C1192C4172100.MSG        RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   and regarding the negotiation of contract terms.
                                                                                                                                                                                                                                 Kathryn Meyers [kathryn.meyers@aon.com];Abby Bell                                                                                                                                                           E‐mail from 2010 including outside counsel and regarding the negotiation of contract
                  AONCPLSONIC‐0000239   AONCPLSONIC‐0000239 ‐ AONCPLSONIC‐0000243    8/11/2015 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan Foster [sfoster@sonichealthcareusa.com]         [abby.bell@aon.com]                                    00000000823056EF5D3D464593A22F2EBC07D03DC4132100.MSG        RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000493   AONCPLSONIC‐0000562 ‐ AONCPLSONIC‐0000566    3/19/2010 Robert Connor      Robert Connor [rconnor@sonichealthcareusa.com]        Sheridan Foster [sfoster@sonichealthcareusa.com]                                                      FW_ NCSS Contract Ireland ‐ Insurance                                 FW: NCSS Contract Ireland ‐ Insurance                      EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                        Gordon Young                                       Sheridan Foster
                                                                                                                                                                        [Gordon.Young@sonichealthcare.com.au];eamadden@ire [sfoster@sonichealthcareusa.com];jcoman@algoodbody
                  AONCPLSONIC‐0000716   AONCPLSONIC‐0000729 ‐ AONCPLSONIC‐0000732    3/19/2010 David Byrne        David Byrne [David.Byrne@tdlpathology.com]            land.com                                           .ie;jonathan.watts@bowewattsclargo.com             RE_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)                  RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   E‐mail including outside counsel and regarding the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000716   AONCPLSONIC‐0000733 ‐ AONCPLSONIC‐0000737    3/19/2010 Robert Connor      Robert Connor [rconnor@sonichealthcareusa.com]        Sheridan Foster [sfoster@sonichealthcareusa.com]                                                                FW_ NCSS Contract Ireland ‐ Insurance                       FW: NCSS Contract Ireland ‐ Insurance                      EMAIL       Attorney/Client   the negotiation of contract terms.
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                  AONCPLSONIC‐0000716   AONCPLSONIC‐0000806 ‐ AONCPLSONIC‐0000812    3/19/2010 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Robert Connor [rconnor@sonichealthcareusa.com]                                                                  RE_ NCSS Contract Ireland ‐ Insurance                       RE: NCSS Contract Ireland ‐ Insurance                      EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             E‐mail forwarding another e‐mail from 2010 including outside counsel and regarding
                  AONCPLSONIC‐0000716   AONCPLSONIC‐0000821 ‐ AONCPLSONIC‐0000824    3/19/2010 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Robert Connor [rconnor@sonichealthcareusa.com]                                                              FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)            FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   the negotiation of contract terms.
                                                                                                                                                                        David Byrne                                              Sheridan Foster
                                                                                                                                                                        [David.Byrne@tdlpathology.com];eamadden@ireland.co       [sfoster@sonichealthcareusa.com];jcoman@algoodbody
                  AONCPLSONIC‐0000716   AONCPLSONIC‐0000825 ‐ AONCPLSONIC‐0000828    3/22/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    m                                                        .ie;jonathan.watts@bowewattsclargo.com             RE_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)            RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   E‐mail including outside counsel and regarding the negotiation of contract terms.
                                                                                                                                                                                                                                 eamadden@ireland.com;Sheridan Foster
                                                                                                                                                                                                                                 [sfoster@sonichealthcareusa.com];jcoman@algoodbody
                  AONCPLSONIC‐0000716   AONCPLSONIC‐0000829 ‐ AONCPLSONIC‐0000830    3/22/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    david.byrne@tdlpathology.com                             .ie;jonathan.watts@bowewattsclargo.com             FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)            FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)       EMAIL       Attorney/Client   E‐mail including outside counsel and regarding the negotiation of contract terms.

                                                                                                                                                                                                                                 Mark Beaman [mbeaman@germer‐austin.com];Nancy x.                                                                                                                                                            Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                        Gordon Young (Gordon.Young@sonichealthcare.com)          Stratton [nstratton@cpllabs.com];Jakob Onken                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0000850   AONCPLSONIC‐0000850 ‐ AONCPLSONIC‐0000850    4/19/2016 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      [Gordon.Young@sonichealthcare.com]                       [jakob.onken@aon.com]                            000000001A26EA0ADAC5884082475D43A0135D4D443A2000.MSG O'Brian vs Sonic Entities                                               EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                 nstratton@cpllabs.com;mbeaman@germer‐                                                                                                                                                                       outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0000925   AONCPLSONIC‐0000925 ‐ AONCPLSONIC‐0000926    4/19/2016 gordon.young@sonigordon.young@sonichealthcare.com                        sfoster@sonichealthcareusa.com                           austin.com;jakob.onken@aon.com                         000000001A26EA0ADAC5884082475D43A0135D4D643A2000.MSG RE: O'Brian vs Sonic Entities                                     EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                 Nancy x. Stratton [nstratton@cpllabs.com];Mark                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
YES               AONCPLSONIC‐0000927   AONCPLSONIC‐0000927 ‐ AONCPLSONIC‐0000929    4/20/2016 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Jakob Onken [jakob.onken@aon.com]                        Beaman [mbeaman@germer‐austin.com]                     00000000F6482EE29DCBF44FA0366F4CA35DA5ABA4462000.MSG FW: O'Brien vs Sonic Entities                                     EMAIL       Attorney/Client   professional legal advice.

                  AONCPLSONIC‐0000927   AONCPLSONIC‐0001013 ‐ AONCPLSONIC‐0001015     4/8/2016 sfoster                                                                                                                                                                                  2010 03 22 Gordon Young of SH re Insurance Provisions.pdf                                                              PDF         Attorney/Client   E‐mail including outside counsel and regarding the negotiation of contract terms.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                 Nancy x. Stratton [nstratton@cpllabs.com];Mark                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001016   AONCPLSONIC‐0001016 ‐ AONCPLSONIC‐0001018    4/21/2016 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan Foster [sfoster@sonichealthcareusa.com]         Beaman [mbeaman@germer‐austin.com]                     00000000823056EF5D3D464593A22F2EBC07D03DE4232000.MSG        RE: O'Brien vs Sonic Entities                              EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                             outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001028   AONCPLSONIC‐0001028 ‐ AONCPLSONIC‐0001030    4/26/2016 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Jakob Onken [jakob.onken@aon.com]                                                                               000000005BACBBCCAD51424BB867EE79BAA1A5FC84052100.MSG FW: O'Brien vs Sonic Entities                                     EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                             outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001031   AONCPLSONIC‐0001031 ‐ AONCPLSONIC‐0001034    4/26/2016 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan Foster [sfoster@sonichealthcareusa.com]                                                                00000000F6482EE29DCBF44FA0366F4CA35DA5AB84532000.MSG        RE: O'Brien vs Sonic Entities                              EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                        Nancy x. Stratton [nstratton@cpllabs.com];Mark Beaman                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001186   AONCPLSONIC‐0001186 ‐ AONCPLSONIC‐0001187     5/2/2016 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      [mbeaman@germer‐austin.com]                              Jakob Onken [jakob.onken@aon.com]                      000000005BACBBCCAD51424BB867EE79BAA1A5FC84302100.MSG RE: O'Brien vs Sonic Entities                                     EMAIL       Attorney/Client   professional legal advice.

                                                                                                                                                                        Sheridan Foster [sfoster@sonichealthcareusa.com];Nancy                                                                                                                                                                                                               Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                        x. Stratton [nstratton@cpllabs.com];Mark Beaman                                                                                                                                                                                                                      outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001188   AONCPLSONIC‐0001188 ‐ AONCPLSONIC‐0001189     5/2/2016 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [mbeaman@germer‐austin.com]                                                                                     000000005BACBBCCAD51424BB867EE79BAA1A5FC842F2100.MSG RE: O'Brien vs Sonic Entities                                     EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                        Jakob Onken [jakob.onken@aon.com];Nancy x. Stratton                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                        [nstratton@cpllabs.com];Mark Beaman                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001190   AONCPLSONIC‐0001190 ‐ AONCPLSONIC‐0001192     5/2/2016 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      [mbeaman@germer‐austin.com]                                                                                     00000000F6482EE29DCBF44FA0366F4CA35DA5AB64412000.MSG        RE: O'Brien vs Sonic Entities                              EMAIL       Attorney/Client   professional legal advice.

                                                                                                                                                                        Sheridan Foster [sfoster@sonichealthcareusa.com];Jakob                                                                                                                                                                                                               Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                        Onken [jakob.onken@aon.com];Mark Beaman                                                                                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
                  AONCPLSONIC‐0001193   AONCPLSONIC‐0001193 ‐ AONCPLSONIC‐0001195     5/2/2016 Nancy Stratton     Nancy Stratton [nstratton@cpllabs.com]                [mbeaman@germer‐austin.com]                                                                                     000000005BACBBCCAD51424BB867EE79BAA1A5FC24302100.MSG RE: O'Brien vs Sonic Entities                                     EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                 Kenneth Corcoran
                                                                                                                                                                                                                                 [Kenneth.Corcoran@aon.com.au];Matthew Conn
YES               AONCPLSONIC‐0003179   AONCPLSONIC‐0003179 ‐ AONCPLSONIC‐0003180    2/26/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       Sheridan A. Foster [sfoster@sonichealthcareusa.com]      [matthew.conn@aon.com];jakob.onken@aon.com             000000009E03231BE12D5A40A16362883399A8B7E4622000.MSG        FW: VP v Clinical Pathology Laboratories Limited ‐ NEW INSTR EMAIL     Attorney/Client   E‐mail forwarding e‐mail from outside counsel regarding insurance coverage.
                  AONCPLSONIC‐0003179   AONCPLSONIC‐0003181 ‐ AONCPLSONIC‐0003182    2/21/2018                                                                                                                                                                                          Letter VP.PDF                                                                                                            PDF       Work Product      Draft work product prepared regarding the defense against the Phelan claim.
                  AONCPLSONIC‐0003179   AONCPLSONIC‐0003183 ‐ AONCPLSONIC‐0003187    2/20/2018                                                                                                                                                                                          Draft Defence.pdf                                                                                                        PDF       Work Product      Draft work product prepared to facilitate defense against Phelan claim.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Draft discovery document prepared by outside counsel to facilitate defense against
                  AONCPLSONIC‐0003179   AONCPLSONIC‐0003188 ‐ AONCPLSONIC‐0003192    2/20/2018                                                                                                                                                                                          Notice for Particulars.pdf                                                                                             PDF         Work Product      Phelan Claim.
                                                                                                                                                                                                                                 Kenneth Corcoran
                                                                                                                                                                                                                                 [Kenneth.Corcoran@aon.com.au];Matthew Conn                                                                                                                                                                  E‐mail forwarding on e‐mail from underlying defense counsel that is protected as an
YES               AONCPLSONIC‐0003193   AONCPLSONIC‐0003193 ‐ AONCPLSONIC‐0003195    2/27/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Gordon Young [Gordon.Young@sonichealthcare.com]          [matthew.conn@aon.com];jakob.onken@aon.com             00000000379086630E61B144B9F0D54A926B7222A4B52000.MSG        RE: VP v Clinical Pathology Laboratories Limited ‐ NEW INSTRUEMAIL     Attorney/Client   attorney‐client communication.
                  AONCPLSONIC‐0003193   AONCPLSONIC‐0003217 ‐ AONCPLSONIC‐0003218    2/14/2018                                                                                                                                                                                          BLM Phelan communication 021218.pdf                                                                                      PDF       Both (AC & WP)    Letter from defense counsel to client regarding strategy vis‐a‐vis Phelan claim.

                                                                                                                                                                        'Sheridan A. Foster'                                                                                                                                                                                                                                                 Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                        [sfoster@sonichealthcareusa.com];Jakob Onken                                                                                                                                                                                                                         outside counsel or in relation to discussions with outside counsel made for the purpose
                  AONCPLSONIC‐0003399   AONCPLSONIC‐0003399 ‐ AONCPLSONIC‐0003401    3/29/2018 Brian Madden       Brian Madden [brian.madden@medlabpathology.ie]        [jakob.onken@aon.com]                                                                                           0000000036C54A489D109242BC9382779EB9EE1EE42B2100.MSG        RE: Phelan vs. HSE, et al.                                 EMAIL       Attorney/Client   of, or in furtherance to the rendering of, professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Communication regarding and attaching letter drafted and prepared by outside legal
                  AONCPLSONIC‐0003402   AONCPLSONIC‐0003402 ‐ AONCPLSONIC‐0003404    3/29/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                               00000000823056EF5D3D464593A22F2EBC07D03D641A2100.MSG FW: Urgent case                                                   EMAIL       Both (AC & WP)    team regarding the defense against the Phelan Claim.
                                                                                                                                                                                                                                                                                                                                                                                                                                             Communication regarding and attaching letter drafted and prepared by outside legal
YES               AONCPLSONIC‐0003405   AONCPLSONIC‐0003405 ‐ AONCPLSONIC‐0003406    3/29/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                               00000000823056EF5D3D464593A22F2EBC07D03D841A2100.MSG FW: Urgent case                                                   EMAIL       Both (AC & WP)    team regarding the defense against the Phelan Claim.
                  AONCPLSONIC‐0003405   AONCPLSONIC‐0003425 ‐ AONCPLSONIC‐0003426    2/14/2018                                                                                                                                                                                          VP Letter to BM.pdf                                                                                                    PDF         Work Product      Work product prepared by outside counsel, BLM, regarding the Phelan Claim.
                                                                                                                                                                                                                                 Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                        E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003544   AONCPLSONIC‐0003544 ‐ AONCPLSONIC‐0003548     4/4/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Brian Madden [brian.madden@medlabpathology.ie]           [jakob.onken@aon.com]                                  00000000DC08669E4FFB0F4393710DD205BEEF7784272000.MSG        RE: Phelan                                                 EMAIL       Both (AC & WP)    regarding the defense against the underlying Phelan claim.
                                                                                                                                                                                                                                 Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                        E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003550   AONCPLSONIC‐0003550 ‐ AONCPLSONIC‐0003554     4/4/2018 Brian Madden       Brian Madden [brian.madden@medlabpathology.ie]        Sheridan A. Foster [sfoster@sonichealthcareusa.com]      [jakob.onken@aon.com]                                  00000000F6482EE29DCBF44FA0366F4CA35DA5AB24092100.MSG        Re: Phelan                                                 EMAIL       Attorney/Client   regarding the defense against the underlying Phelan claim.
                                                                                                                                                                                                                                 Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                        E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003555   AONCPLSONIC‐0003555 ‐ AONCPLSONIC‐0003560     4/4/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Brian Madden [brian.madden@medlabpathology.ie]           [jakob.onken@aon.com]                                  00000000DC08669E4FFB0F4393710DD205BEEF77646B2000.MSG        RE: Phelan                                                 EMAIL       Attorney/Client   regarding the defense against the underlying Phelan claim.
                                                                                                                                                                        Sheridan A. Foster
                                                                                                                                                                        [sfoster@sonichealthcareusa.com];Brian Madden                                                                                                                                                                                                                        E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003561   AONCPLSONIC‐0003561 ‐ AONCPLSONIC‐0003566     4/4/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [brian.madden@medlabpathology.ie]                        Karen Pruett ‐ CPL [kpruett@cpllabs.com]               00000000DC08669E4FFB0F4393710DD205BEEF77A4272000.MSG        RE: Phelan                                                 EMAIL       Attorney/Client   regarding the defense against the underlying Phelan claim.
                                                                                                                                                                                                                                 Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                        E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003567   AONCPLSONIC‐0003567 ‐ AONCPLSONIC‐0003572     4/4/2018 Brian Madden       Brian Madden [brian.madden@medlabpathology.ie]        Sheridan A. Foster [sfoster@sonichealthcareusa.com]      [jakob.onken@aon.com]                                  000000009E03231BE12D5A40A16362883399A8B784C82000.MSG        Re: Phelan                                                 EMAIL       Attorney/Client   regarding the defense against the underlying Phelan claim.
                                                                                                                                                                        Jakob Onken [jakob.onken@aon.com];Karen Pruett ‐ CPL                                                                                                                                                                                                                 E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003573   AONCPLSONIC‐0003573 ‐ AONCPLSONIC‐0003579     4/4/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [kpruett@cpllabs.com]                                                                                           0000000036C54A489D109242BC9382779EB9EE1E44822000.MSG        FW: Phelan                                                 EMAIL       Attorney/Client   regarding the defense against the underlying Phelan claim.
                                                                                                                                                                        Sheridan A. Foster
                                                                                                                                                                        [sfoster@sonichealthcareusa.com];Karen Pruett ‐ CPL                                                                                                                                                                                                                  E‐mail correspondence regarding communications to/from outside counsel (BLM)
                  AONCPLSONIC‐0003580   AONCPLSONIC‐0003580 ‐ AONCPLSONIC‐0003586     4/4/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [kpruett@cpllabs.com]                                                                                           0000000036C54A489D109242BC9382779EB9EE1E24822000.MSG        RE: Phelan                                                 EMAIL       Attorney/Client   regarding the defense against the underlying Phelan claim.

                                                                                                                                                                        brian.madden@medlabpathology.ie;nessa.o'roarty@blml      Bobby L. Smithson [bsmithson@cpllabs.com];Karen
                                                                                                                                                                        aw.com;Healy, Clifford (Clifford.Healy@blmlaw.com)       Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken
                  AONCPLSONIC‐0003603   AONCPLSONIC‐0003603 ‐ AONCPLSONIC‐0003603     4/5/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [Clifford.Healy@blmlaw.com]                              [jakob.onken@aon.com]                                  00000000DC08669E4FFB0F4393710DD205BEEF77845F2000.MSG        Phelan                                                     EMAIL       Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.
                                                                                                                                                                        Sheridan A. Foster
                                                                                                                                                                        [sfoster@sonichealthcareusa.com];brian.madden@medla      Bobby L. Smithson [bsmithson@cpllabs.com];Karen
                                                                                                                                                                        bpathology.ie;O'Roarty, Nessa                            Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken
                  AONCPLSONIC‐0003605   AONCPLSONIC‐0003605 ‐ AONCPLSONIC‐0003606     4/5/2018 Healy, Clifford    Healy, Clifford [Clifford.Healy@blmlaw.com]           [Nessa.O'Roarty@blmlaw.com]                              [jakob.onken@aon.com]                                  00000000F6482EE29DCBF44FA0366F4CA35DA5AB040A2100.MSG RE: Phelan                                                        EMAIL       Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.

                                                                                                                                                                        'Sheridan A. Foster'
                                                                                                                                                                        [sfoster@sonichealthcareusa.com];nessa.o'roarty@blmla Bobby L. Smithson [bsmithson@cpllabs.com];Karen
                                                                                                                                                                        w.com;Healy, Clifford (Clifford.Healy@blmlaw.com)        Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken
                  AONCPLSONIC‐0003609   AONCPLSONIC‐0003609 ‐ AONCPLSONIC‐0003610     4/6/2018 Brian Madden       Brian Madden [brian.madden@medlabpathology.ie]        [Clifford.Healy@blmlaw.com]                              [jakob.onken@aon.com]                                  00000000DC08669E4FFB0F4393710DD205BEEF77A45F2000.MSG        RE: Phelan                                                 EMAIL       Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.
                                                                                                                                                                        Bobby L. Smithson [bsmithson@cpllabs.com];Karen Pruett ‐                                                                                                                                                                                                             E‐mail forwarding on and regarding communication with outside counsel (BLM)
                  AONCPLSONIC‐0003632   AONCPLSONIC‐0003632 ‐ AONCPLSONIC‐0003634     4/6/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   CPL [kpruett@cpllabs.com]                                Jakob Onken [jakob.onken@aon.com]                      00000000DC08669E4FFB0F4393710DD205BEEF77442F2000.MSG        FW: Phelan [BLM‐LAW‐DUBLIN.FID122908]                      EMAIL       Attorney/Client   regarding the Phelan claim.
                                                                                        Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 3 of 12
                                                                                                                                                                                                                                                                                                                                                                                                        PRIVILEGE AND REDACTION LOG



                                                                                                                                                     Gordon Young
                                                                                                                                                     [Gordon.Young@sonichealthcare.com];Stephen Shumpert
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                                                                                                                                                     d Healy
                                                                                                                                                     [Clifford.Healy@blmlaw.com];brian.madden@medlabpat
                                                                                                                                                     hology.ie;Jakob Onken [jakob.onken@aon.com];Johanna
AONCPLSONIC‐0003677   AONCPLSONIC‐0003677 ‐ AONCPLSONIC‐0003680    4/8/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Furlong [Johanna.Furlong@blmlaw.com]                                                                             0000000036C54A489D109242BC9382779EB9EE1E046A2000.MSG        Re: Phelan Mediation and Settlement Letter.pdf              EMAIL     Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.




                                                                                                                                                     Gordon Young
                                                                                                                                                     [Gordon.Young@sonichealthcare.com];Stephen Shumpert
                                                                                                                                                     [sshumpert@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                     [bsmithson@cpllabs.com];Karen Pruett ‐ CPL
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                                                                                                                                                     d Healy
                                                                                                                                                     [Clifford.Healy@blmlaw.com];brian.madden@medlabpat
                                                                                                                                                     hology.ie;Jakob Onken [jakob.onken@aon.com];Johanna
AONCPLSONIC‐0003681   AONCPLSONIC‐0003681 ‐ AONCPLSONIC‐0003684    4/8/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Furlong [Johanna.Furlong@blmlaw.com]                                                                             00000000F6482EE29DCBF44FA0366F4CA35DA5AB840A2100.MSG Re: Phelan Mediation and Settlement Letter.pdf                     EMAIL     Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.


                                                                                                                                                     Sheridan A. Foster
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Gordon Young
                                                                                                                                                     [Gordon.Young@sonichealthcare.com];Stephen Shumpert
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                                                                                                                                                     [bsmithson@cpllabs.com];Karen Pruett ‐ CPL
                                                                                                                                                     [kpruett@cpllabs.com];O'Roarty, Nessa
                                                                                                                                                     [Nessa.O'Roarty@blmlaw.com];brian.madden@medlabpa
                                                                                                                                                     thology.ie;Jakob Onken [jakob.onken@aon.com];Furlong,
AONCPLSONIC‐0003685   AONCPLSONIC‐0003685 ‐ AONCPLSONIC‐0003688    4/9/2018 Healy, Clifford    Healy, Clifford [Clifford.Healy@blmlaw.com]           Johanna [Johanna.Furlong@blmlaw.com]                                                                             00000000F6482EE29DCBF44FA0366F4CA35DA5ABA40A2100.MSG RE: Phelan Mediation and Settlement Letter.pdf [BLM‐LAW‐DUEMAIL              Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.


                                                                                                                                                     Sheridan A. Foster
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Gordon Young
                                                                                                                                                     [Gordon.Young@sonichealthcare.com];Stephen Shumpert
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                                                                                                                                                     [kpruett@cpllabs.com];Healy, Clifford
                                                                                                                                                     [Clifford.Healy@blmlaw.com];brian.madden@medlabpat
                                                                                                                                                     hology.ie;Jakob Onken [jakob.onken@aon.com];Furlong,
AONCPLSONIC‐0003689   AONCPLSONIC‐0003689 ‐ AONCPLSONIC‐0003692    4/9/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           Johanna [Johanna.Furlong@blmlaw.com]                                                                             00000000DC08669E4FFB0F4393710DD205BEEF77E42F2000.MSG        RE: Phelan Mediation and Settlement Letter.pdf              EMAIL     Attorney/Client   Confidential communication with outside counsel (BLM) regarding the Phelan claim.
                                                                                                                                                                                                               Brian Madden
                                                                                                                                                                                                               [Brian.Madden@medlabpathology.ie];Jakob Onken
                                                                                                                                                                                                               (jakob.onken@aon.com)                                                                                                                                                                                      E‐mail exchange in anticipation of potential insurance coverage dispute and potential
                                                                                                                                                                                                               [jakob.onken@aon.com];Kenneth Corcoran                                                                                                                                                                     litigation with Homeland/OneBeacon. Such was anticipated because
                                                                                                                                                                                                               [kenneth.corcoran@aon.com]                                                                                                                                                                                 Homeland/OneBeacon had continuously requested information that had no bearing on
                                                                                                                                                                                                               [kenneth.corcoran@aon.com];Matthew Conn                                                                                                                                                                    the adjustment of the Phelan claim and the determination of whether the Phelan claim
AONCPLSONIC‐0003714   AONCPLSONIC‐0003714 ‐ AONCPLSONIC‐0003719   4/10/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       Sheridan A. Foster [sfoster@sonichealthcareusa.com]       [matthew.conn@aon.com]                                 00000000F6482EE29DCBF44FA0366F4CA35DA5ABC40B2100.MSG        FW: Vero Reference: E004020810 : Policy No.: LPP104044180 EMAIL       Work Product      is covered by the insurance policies issued by the Homeland policies.
                                                                                                                                                                                                               Brian Madden
                                                                                                                                                                                                               [Brian.Madden@medlabpathology.ie];Karen Pruett ‐ CPL
                                                                                                                                                                                                               [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                          E‐mail exchange in anticipation of potential insurance coverage dispute and potential
                                                                                                                                                                                                               [jakob.onken@aon.com];Matthew Conn                                                                                                                                                                         litigation with Homeland/OneBeacon. Such was anticipated because
                                                                                                                                                                                                               [matthew.conn@aon.com];Bobby L. Smithson                                                                                                                                                                   Homeland/OneBeacon had continuously requested information that had no bearing on
                                                                                                                                                                                                               [bsmithson@cpllabs.com];Steve R. Shumpert                                                                                                                                                                  the adjustment of the Phelan claim and the determination of whether the Phelan claim
AONCPLSONIC‐0003753   AONCPLSONIC‐0003753 ‐ AONCPLSONIC‐0003755   4/10/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       Sheridan A. Foster [sfoster@sonichealthcareusa.com]       [sshumpert@sonichealthcareusa.com]                     00000000DC08669E4FFB0F4393710DD205BEEF77C4312000.MSG        RE: Phelan Case                                             EMAIL     Work Product      is covered by the insurance policies issued by the Homeland policies.
                                                                                                                                                                                                               Brian Madden
                                                                                                                                                                                                               [Brian.Madden@medlabpathology.ie];Karen Pruett ‐ CPL
                                                                                                                                                                                                               [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                          E‐mail exchange in anticipation of potential insurance coverage dispute and potential
                                                                                                                                                                                                               [jakob.onken@aon.com];Matthew Conn                                                                                                                                                                         litigation with Homeland/OneBeacon. Such was anticipated because
                                                                                                                                                                                                               [matthew.conn@aon.com];Bobby L. Smithson                                                                                                                                                                   Homeland/OneBeacon had continuously requested information that had no bearing on
                                                                                                                                                                                                               [bsmithson@cpllabs.com];Stephen Shumpert                                                                                                                                                                   the adjustment of the Phelan claim and the determination of whether the Phelan claim
AONCPLSONIC‐0003756   AONCPLSONIC‐0003756 ‐ AONCPLSONIC‐0003758   4/10/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Gordon Young [Gordon.Young@sonichealthcare.com]           [sshumpert@sonichealthcareusa.com]                     000000008A4DDD97ACCEBE4E961F101CBD5233E224092000.MSG Re: Phelan Case                                                    EMAIL     Work Product      is covered by the insurance policies issued by the Homeland policies.
                                                                                                                                                                                                               Brian Madden
                                                                                                                                                                                                               [Brian.Madden@medlabpathology.ie];Karen Pruett ‐ CPL                                                                                                                                                       Confidential and privileged attorney‐client communication involving or in furtherance
                                                                                                                                                                                                               [kpruett@cpllabs.com];Matthew Conn                                                                                                                                                                         to advice from CPL/SHUSA and outside counsel made for the purpose of, or in
                                                                                                                                                     Sheridan A. Foster                                        [matthew.conn@aon.com];Bobby L. Smithson                                                                                                                                                                   furtherance to the rendering of, professional legal advice.
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Gordon Young             [bsmithson@cpllabs.com];Stephen Shumpert
AONCPLSONIC‐0003759   AONCPLSONIC‐0003759 ‐ AONCPLSONIC‐0003761   4/11/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [Gordon.Young@sonichealthcare.com]                        [sshumpert@sonichealthcareusa.com]                     00000000DC08669E4FFB0F4393710DD205BEEF7704322000.MSG        RE: Phelan Case                                             EMAIL     Attorney/Client
                                                                                                                                                                                                               Brian Madden
                                                                                                                                                                                                               [Brian.Madden@medlabpathology.ie];Karen Pruett ‐ CPL
                                                                                                                                                                                                               [kpruett@cpllabs.com];Matthew Conn
                                                                                                                                                     Sheridan A. Foster                                        [matthew.conn@aon.com];Bobby L. Smithson                                                                                                                                                                   Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Gordon Young             [bsmithson@cpllabs.com];Stephen Shumpert                                                                                                                                                                   outside counsel made for the purpose of, or in furtherance to the rendering of,
AONCPLSONIC‐0003768   AONCPLSONIC‐0003768 ‐ AONCPLSONIC‐0003770   4/11/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [Gordon.Young@sonichealthcare.com]                        [sshumpert@sonichealthcareusa.com]                     000000008A4DDD97ACCEBE4E961F101CBD5233E2A4092000.MSG RE: Phelan Case                                                    EMAIL     Attorney/Client   professional legal advice.

                                                                                                                                                                                                               Jakob Onken [jakob.onken@aon.com];Stephen
                                                                                                                                                     Gordon Young (Gordon.Young@sonichealthcare.com)           Shumpert [sshumpert@sonichealthcareusa.com];Karen                                                                                                                                                          Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                     [Gordon.Young@sonichealthcare.com];Matthew Conn           Pruett ‐ CPL [kpruett@cpllabs.com];Bobby L. Smithson                                                                                                                                                       outside counsel or in relation to discussions with outside counsel made for the purpose
AONCPLSONIC‐0003775   AONCPLSONIC‐0003775 ‐ AONCPLSONIC‐0003775   4/12/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   (matthew.conn@aon.com) [matthew.conn@aon.com]             [bsmithson@cpllabs.com]                                00000000F6482EE29DCBF44FA0366F4CA35DA5ABE40C2100.MSG        FW: Phelan Investigative Follow‐Up Letter.pdf               EMAIL     Attorney/Client   of, or in furtherance to the rendering of, professional legal advice.

                                                                                                                                                                                                               Jakob Onken [jakob.onken@aon.com];Steve R.
                                                                                                                                                                                                               Shumpert [sshumpert@sonichealthcareusa.com];Karen
                                                                                                                                                                                                               Pruett ‐ CPL [kpruett@cpllabs.com];Bobby L. Smithson
                                                                                                                                                     Sheridan A. Foster                                        [bsmithson@cpllabs.com];Kenneth Corcoran                                                                                                                                                                   Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Matthew Conn             [kenneth.corcoran@aon.com]                                                                                                                                                                                 outside counsel or in relation to discussions with outside counsel made for the purpose
AONCPLSONIC‐0003778   AONCPLSONIC‐0003778 ‐ AONCPLSONIC‐0003779   4/16/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       (matthew.conn@aon.com) [matthew.conn@aon.com]             [kenneth.corcoran@aon.com]                             00000000DC08669E4FFB0F4393710DD205BEEF7724332000.MSG        RE: Phelan Investigative Follow‐Up Letter.pdf               EMAIL     Attorney/Client   of, or in furtherance to the rendering of, professional legal advice.
                                                                                                                                                     Sheridan A. Foster
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Bobby L. Smithson
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                                                                                                                                                     [kpruett@cpllabs.com];Gordon Young                                                                                                                                                                                                                                   Privileged communication from underlying defense counsel regarding defense against
AONCPLSONIC‐0003780   AONCPLSONIC‐0003780 ‐ AONCPLSONIC‐0003783   4/17/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [Gordon.Young@sonichealthcare.com]                        Healy, Clifford [Clifford.Healy@blmlaw.com]            00000000DC08669E4FFB0F4393710DD205BEEF7724632000.MSG        FW: 13th April 2018 ‐ Vicky Phelan and Jim Phelan v Health SeEMAIL    Attorney/Client   the Phelan Claim.
                                                                                                                                                     Sheridan A. Foster
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                     [bsmithson@cpllabs.com];'Brian Madden'
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                                                                                                                                                     [kpruett@cpllabs.com];Gordon Young                                                                                                                                                                                                                                   Privileged communication from underlying defense counsel regarding defense against
AONCPLSONIC‐0003784   AONCPLSONIC‐0003784 ‐ AONCPLSONIC‐0003787   4/17/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [Gordon.Young@sonichealthcare.com]                                                                               00000000F6482EE29DCBF44FA0366F4CA35DA5AB240E2100.MSG        FW: 13th April 2018 ‐ Vicky Phelan and Jim Phelan v Health SeEMAIL    Attorney/Client   the Phelan Claim.

                                                                                                                                                     O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Bobby L.
                                                                                                                                                     Smithson [bsmithson@cpllabs.com];'Brian Madden'
                                                                                                                                                     [brian.madden@medlabpathology.ie];Jakob Onken
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                                                                                                                                                     [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                     [kpruett@cpllabs.com];Gordon Young                                                                                                                                                                                                                                   Privileged communication with underlying defense counsel regarding defense against
AONCPLSONIC‐0003846   AONCPLSONIC‐0003846 ‐ AONCPLSONIC‐0003849   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [Gordon.Young@sonichealthcare.com]                                                                               0000000036C54A489D109242BC9382779EB9EE1EA46C2000.MSG        RE: 13th April 2018 ‐ Vicky Phelan and Jim Phelan v Health Se EMAIL   Attorney/Client   the Phelan Claim.
                                                                                                                                                                                                                                                                                                                                                                                                                          Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                          outside counsel made for the purpose of, or in furtherance to the rendering of,
AONCPLSONIC‐0003850   AONCPLSONIC‐0003850 ‐ AONCPLSONIC‐0003851   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                                00000000DC08669E4FFB0F4393710DD205BEEF77A4332000.MSG        FW: Sonic/Phelan                                            EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                     Sheridan A. Foster
                                                                                                                                                     [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                     [bsmithson@cpllabs.com];'Brian Madden'
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                                                                                                                                                     [kpruett@cpllabs.com];Gordon Young                                                                                                                                                                                                                                   Privileged communication from underlying defense counsel regarding defense against
AONCPLSONIC‐0003852   AONCPLSONIC‐0003852 ‐ AONCPLSONIC‐0003856   4/17/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [Gordon.Young@sonichealthcare.com]                                                                               000000008A4DDD97ACCEBE4E961F101CBD5233E2640B2000.MSG RE: 13th April 2018 ‐ Vicky Phelan and Jim Phelan v Health Se EMAIL          Attorney/Client   the Phelan Claim.
                                                                                                                                                                                                                                                                                                                                                                                                                          Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                          outside counsel made for the purpose of, or in furtherance to the rendering of,
AONCPLSONIC‐0003857   AONCPLSONIC‐0003857 ‐ AONCPLSONIC‐0003858   4/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                              00000000DC08669E4FFB0F4393710DD205BEEF7744632000.MSG        Re: Sonic/Phelan                                            EMAIL     Attorney/Client   professional legal advice.
                                                                                             Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 4 of 12
                                                                                                                                                                                                                                                                                                                                                                                                         PRIVILEGE AND REDACTION LOG


                                                                                                                                                           Sheridan A. Foster
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YES   AONCPLSONIC‐0003859   AONCPLSONIC‐0003859 ‐ AONCPLSONIC‐0003861   4/17/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   Aisling [Aisling.Heeney@blmlaw.com]                    00000000DC08669E4FFB0F4393710DD205BEEF77A4632000.MSG     FW: Confidential and Privileged: Expert Report [BLM‐LAW‐DU EMAIL      Attorney/Client   the Phelan Claim and specifically regarding expert reports.
      AONCPLSONIC‐0003859   AONCPLSONIC‐0003862 ‐ AONCPLSONIC‐0003866                                                                                                                                                                                                     victoria phelan.docx                                                                                                DOCUMENT   Work Product      Report prepared by expert/consultant for potential use in the Phelan Claim.
                                                                                                                                                                                                                                                                                                                                                                                                                           Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                           outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0003867   AONCPLSONIC‐0003867 ‐ AONCPLSONIC‐0003868   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              000000008A4DDD97ACCEBE4E961F101CBD5233E2A40B2000.MSG FW: Sonic/Phelan                                            EMAIL         Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                           Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                           outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0003869   AONCPLSONIC‐0003869 ‐ AONCPLSONIC‐0003871   4/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            00000000F6482EE29DCBF44FA0366F4CA35DA5AB640E2100.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail chain regarding and including e‐mails with outside counsel at BLM, and
      AONCPLSONIC‐0003872   AONCPLSONIC‐0003872 ‐ AONCPLSONIC‐0003874   4/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            00000000F6482EE29DCBF44FA0366F4CA35DA5AB840E2100.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   regarding issues related to insurance coverage.

                                                                                                                                                           Gordon Young                                            Bobby L. Smithson [bsmithson@cpllabs.com];Stephen
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];O'Roarty, Nessa      Shumpert [sshumpert@sonichealthcareusa.com];Karen
                                                                                                                                                           (Nessa.O'Roarty@blmlaw.com)                             Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken
      AONCPLSONIC‐0003875   AONCPLSONIC‐0003875 ‐ AONCPLSONIC‐0003876   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [Nessa.O'Roarty@blmlaw.com]                             [jakob.onken@aon.com]                                  00000000DC08669E4FFB0F4393710DD205BEEF7724642000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   Correspondence with outside counsel regarding insurance coverage for Phelan Claim.
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail chain regarding and including e‐mails with outside counsel at BLM, and
YES   AONCPLSONIC‐0003877   AONCPLSONIC‐0003877 ‐ AONCPLSONIC‐0003879   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              00000000DC08669E4FFB0F4393710DD205BEEF7744342000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   regarding issues related to insurance coverage.

                                                                                                                                                                                                                   Jakob Onken [jakob.onken@aon.com];Stephen
                                                                                                                                                                                                                   Shumpert [sshumpert@sonichealthcareusa.com];Karen
                                                                                                                                                                                                                   Pruett ‐ CPL [kpruett@cpllabs.com];Bobby L. Smithson
                                                                                                                                                           Sheridan A. Foster                                      [bsmithson@cpllabs.com];Kenneth Corcoran                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Matthew Conn           [kenneth.corcoran@aon.com]                                                                                                                                                                              outside counsel or in relation to discussions with outside counsel made for the purpose
      AONCPLSONIC‐0003877   AONCPLSONIC‐0003880 ‐ AONCPLSONIC‐0003881   4/16/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       (matthew.conn@aon.com) [matthew.conn@aon.com]           [kenneth.corcoran@aon.com]                             RE_ Phelan Investigative Follow‐Up Letter.pdf            RE: Phelan Investigative Follow‐Up Letter.pdf           EMAIL         Attorney/Client   of, or in furtherance to the rendering of, professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail chain regarding and including e‐mails with outside counsel at BLM, and
      AONCPLSONIC‐0003882   AONCPLSONIC‐0003882 ‐ AONCPLSONIC‐0003884   4/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            00000000DC08669E4FFB0F4393710DD205BEEF7744642000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   regarding issues related to insurance coverage.
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail chain regarding and including e‐mails with outside counsel at BLM, and
      AONCPLSONIC‐0003885   AONCPLSONIC‐0003885 ‐ AONCPLSONIC‐0003887   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              00000000DC08669E4FFB0F4393710DD205BEEF7764642000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   regarding issues related to insurance coverage.
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail chain regarding and including e‐mails with outside counsel at BLM, and
      AONCPLSONIC‐0003888   AONCPLSONIC‐0003888 ‐ AONCPLSONIC‐0003890   4/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            0000000036C54A489D109242BC9382779EB9EE1E446D2000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   regarding issues related to insurance coverage.
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail chain regarding and including e‐mails with outside counsel at BLM, and
      AONCPLSONIC‐0003891   AONCPLSONIC‐0003891 ‐ AONCPLSONIC‐0003894   4/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              0000000036C54A489D109242BC9382779EB9EE1E646D2000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   regarding issues related to insurance coverage.

                                                                                                                                                                                                                                                                                                                                                                                                                           Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                           outside counsel and/or in relation to discussions with outside counsel made for the
      AONCPLSONIC‐0003895   AONCPLSONIC‐0003895 ‐ AONCPLSONIC‐0003898   4/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            0000000036C54A489D109242BC9382779EB9EE1E846D2000.MSG     RE: Sonic/Phelan                                        EMAIL         Attorney/Client   purpose of, or in furtherance to the rendering of, professional legal advice.

                                                                                                                                                           Sheridan Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett
                                                                                                                                                           [kpruett@cpllabs.com];Bobby L. Smithson                 Furlong, Johanna
                                                                                                                                                           [bsmithson@cpllabs.com];Jakob Onken                     [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                            E‐mail from underlying defense counsel regarding litigation developments, litigation
      AONCPLSONIC‐0003899   AONCPLSONIC‐0003899 ‐ AONCPLSONIC‐0003901   4/18/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   [Clifford.Healy@blmlaw.com]                            000000008A4DDD97ACCEBE4E961F101CBD5233E2A4CF2000.MSG FW: Vicky Phelan‐v‐ HSE & CPL                               EMAIL         Both (AC & WP)    strategy, and legal advice.
                                                                                                                                                           Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Karen Pruett
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young                      Furlong, Johanna
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                            E‐mail from underlying defense counsel regarding litigation developments, litigation
      AONCPLSONIC‐0003902   AONCPLSONIC‐0003902 ‐ AONCPLSONIC‐0003904   4/18/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   [Clifford.Healy@blmlaw.com]                            000000005BACBBCCAD51424BB867EE79BAA1A5FCC4D42000.MSG FW: Vicky Phelan‐v‐ HSE & CPL                               EMAIL         Both (AC & WP)    strategy, and legal advice (all related to the Phelan Claim).
                                                                                                                                                           Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Karen Pruett
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young                      Furlong, Johanna
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                            E‐mail from underlying defense counsel regarding the Phelan Claim and related
      AONCPLSONIC‐0003908   AONCPLSONIC‐0003908 ‐ AONCPLSONIC‐0003911   4/18/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   [Clifford.Healy@blmlaw.com]                            000000005BACBBCCAD51424BB867EE79BAA1A5FCE4D42000.MSG RE: Vicky Phelan‐v‐ HSE & CPL                               EMAIL         Both (AC & WP)    litigation developments, litigation strategy, and legal advice.

                                                                                                                                                           O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Stephen     Furlong, Johanna
                                                                                                                                                           Shumpert [sshumpert@sonichealthcareusa.com];Karen       [Johanna.Furlong@blmlaw.com];Healy, Clifford
                                                                                                                                                           Pruett ‐ CPL [kpruett@cpllabs.com];Gordon Young         [Clifford.Healy@blmlaw.com];Shannon S. kratzer                                                                                                                                                          E‐mail to underlying defense counsel regarding litigation developments in the Phelan
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          [skratzer@cpllabs.com];Bobby L. Smithson                                                                                                                                                                Claim, and related litigation strategy and legal advice conveyed by underlying defense
      AONCPLSONIC‐0003912   AONCPLSONIC‐0003912 ‐ AONCPLSONIC‐0003915   4/18/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                   [bsmithson@cpllabs.com]                                000000008A4DDD97ACCEBE4E961F101CBD5233E204182000.MSG RE: Vicky Phelan‐v‐ HSE & CPL                               EMAIL         Both (AC & WP)    counsel.


                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett
                                                                                                                                                           [kpruett@cpllabs.com];'gordon.young@sonichealthcare.c
                                                                                                                                                           om' [gordon.young@sonichealthcare.com];Jakob Onken    Healy, Clifford [Clifford.Healy@blmlaw.com];Furlong,                                                                                                                                                      E‐mail from underlying defense counsel regarding litigation developments in the
      AONCPLSONIC‐0003916   AONCPLSONIC‐0003916 ‐ AONCPLSONIC‐0003917   4/18/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                 Johanna [Johanna.Furlong@blmlaw.com]                     000000005BACBBCCAD51424BB867EE79BAA1A5FC44D52000.MSG FW: Vicky Phelan                                            EMAIL         Both (AC & WP)    Phelan claim, litigation strategy, and legal advice.
                                                                                                                                                           nessa.o'roarty@blmlaw.com;Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young
                                                                                                                                                           (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken                                                                                                                                                                                                                  E‐mail to underlying defense counsel regarding Phelan Claim and potential issue in
                                                                                                                                                           [jakob.onken@aon.com];Shannon S. kratzer                                                                                                                                                                                                                        correspondence sent by plaintiff's counsel, and seeking legal advice regarding the
      AONCPLSONIC‐0003920   AONCPLSONIC‐0003920 ‐ AONCPLSONIC‐0003921   4/18/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [skratzer@cpllabs.com]                                                                                         00000000823056EF5D3D464593A22F2EBC07D03D44B82000.MSG     FW: Vicky Phelan                                        EMAIL         Both (AC & WP)    same.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young
                                                                                                                                                           (Gordon.Young@sonichealthcare.com)                                                                                                                                                                                                                              E‐mail chain, with top e‐mail coming from underlying defense counsel regarding
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          Furlong, Johanna                                                                                                                                                                                        litigation developments in the Phelan Claim, litigation strategy, legal advice, and work
                                                                                                                                                           [jakob.onken@aon.com];Shannon S. kratzer                [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                            that underlying defense counsel will undertake to address an issue flagged by client
      AONCPLSONIC‐0003924   AONCPLSONIC‐0003924 ‐ AONCPLSONIC‐0003925   4/18/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [skratzer@cpllabs.com]                                  [Clifford.Healy@blmlaw.com]                            000000005BACBBCCAD51424BB867EE79BAA1A5FC64D52000.MSG RE: Vicky Phelan                                            EMAIL         Both (AC & WP)    team.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Stephen Shumpert       Furlong, Johanna
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL   [Johanna.Furlong@blmlaw.com];Healy, Clifford
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young                      [Clifford.Healy@blmlaw.com];Shannon S. kratzer                                                                                                                                                          E‐mail from underlying defense counsel regarding litigation developments in the
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          [skratzer@cpllabs.com];Bobby L. Smithson                                                                                                                                                                Phelan Claim, litigation/resolution strategy, legal advice, and next steps for the
      AONCPLSONIC‐0003926   AONCPLSONIC‐0003926 ‐ AONCPLSONIC‐0003929   4/18/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   [bsmithson@cpllabs.com]                                00000000823056EF5D3D464593A22F2EBC07D03D24072000.MSG     RE: Vicky Phelan‐v‐ HSE & CPL                           EMAIL         Both (AC & WP)    litigation.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young
                                                                                                                                                           (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken
                                                                                                                                                           [jakob.onken@aon.com];Shannon S. kratzer                                                                                                                                                                                                                        E‐mail from underlying defense counsel regarding litigation developments in the
      AONCPLSONIC‐0003930   AONCPLSONIC‐0003930 ‐ AONCPLSONIC‐0003932   4/19/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [skratzer@cpllabs.com]                                  Furlong, Johanna [Johanna.Furlong@blmlaw.com]          000000005BACBBCCAD51424BB867EE79BAA1A5FC84D52000.MSG RE: Vicky Phelan                                            EMAIL         Both (AC & WP)    Phelan Claim, litigation/potential resolution strategy, legal advice.
                                                                                                                                                           Stephen Shumpert                                                                                                                                                                                                                                                E‐mail forwarding on and regarding correspondence with underlying defense counsel
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Jakob Onken                                                                                                                                                                                                                  regarding litigation developments in the Phelan Claim, litigation/potential resolution
      AONCPLSONIC‐0003933   AONCPLSONIC‐0003933 ‐ AONCPLSONIC‐0003937   4/19/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                                                                          00000000823056EF5D3D464593A22F2EBC07D03D64B82000.MSG     Fwd: Vicky Phelan‐v‐ HSE & CPL                          EMAIL         Both (AC & WP)    strategy, and legal advice.
                                                                                                                                                                                                                   Stephen Shumpert
                                                                                                                                                                                                                   [sshumpert@sonichealthcareusa.com];Jakob Onken                                                                                                                                                          E‐mail to underlying defense counsel regarding litigation developments in the Phelan
      AONCPLSONIC‐0003944   AONCPLSONIC‐0003944 ‐ AONCPLSONIC‐0003946   4/19/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]             [jakob.onken@aon.com]                                  000000008A4DDD97ACCEBE4E961F101CBD5233E264D02000.MSG Re: Vicky Phelan                                            EMAIL         Both (AC & WP)    claim, litigation/resolution strategy, legal advice, and next steps for the litigation.
                                                                                                                                                           Sheridan A. Foster                                                                                                                                                                                                                                              E‐mail forwarding on and regarding correspondence from underlying defense counsel
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Stephen Shumpert                                                                                                                                                                                                               regarding litigation/resolution strategy vis‐a‐vis the Phelan Claim (and regarding
      AONCPLSONIC‐0003947   AONCPLSONIC‐0003947 ‐ AONCPLSONIC‐0003951   4/19/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [sshumpert@sonichealthcareusa.com]                                                                             00000000823056EF5D3D464593A22F2EBC07D03DE4072000.MSG     RE: Vicky Phelan‐v‐ HSE & CPL                           EMAIL         Both (AC & WP)    obtaining the requisite settlement authority).
                                                                                                                                                                                                                                                                                                                                                                                                                           E‐mail forwarding on and regarding correspondence from underlying defense counsel
                                                                                                                                                                                                                                                                                                                                                                                                                           regarding litigation/resolution strategy vis‐a‐vis the Phelan Claim (and regarding
      AONCPLSONIC‐0003952   AONCPLSONIC‐0003952 ‐ AONCPLSONIC‐0003956   4/19/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              000000008A4DDD97ACCEBE4E961F101CBD5233E2A4D02000.MSG Re: Vicky Phelan‐v‐ HSE & CPL                               EMAIL         Both (AC & WP)    obtaining the requisite settlement authority).

                                                                                                                                                           Claims Vero [claims@vero.com.au];'Brian Madden'
                                                                                                                                                           [brian.madden@medlabpathology.ie];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];'gordon.young@so
                                                                                                                                                           nichealthcare.com'
                                                                                                                                                           [gordon.young@sonichealthcare.com];'Matthew Conn'
                                                                                                                                                           [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                           [jakob.onken@aon.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Sheridan A. Foster          Furlong, Johanna
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Karen Pruett       [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                                E‐mail from underlying defense counsel regarding litigation developments in the
      AONCPLSONIC‐0003957   AONCPLSONIC‐0003957 ‐ AONCPLSONIC‐0003958   4/19/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [kpruett@cpllabs.com]                               [Clifford.Healy@blmlaw.com]                                000000008A4DDD97ACCEBE4E961F101CBD5233E284D02000.MSG FW: E004020810 01 ‐ PHELAN v HSE                            EMAIL         Both (AC & WP)    Phelan claim, and regarding testimony anticipated during trial.
                                                                                             Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 5 of 12
                                                                                                                                                                                                                                                                                                                                                                                                     PRIVILEGE AND REDACTION LOG

                                                                                                                                                           Brian Madden
                                                                                                                                                           [brian.madden@medlabpathology.ie];'gordon.young@so
                                                                                                                                                           nichealthcare.com'
                                                                                                                                                           [gordon.young@sonichealthcare.com];Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];'Matthew Conn'
                                                                                                                                                           [matthew.conn@aon.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Jakob Onken
                                                                                                                                                           [jakob.onken@aon.com];Bobby L. Smithson                 Furlong, Johanna
                                                                                                                                                           [bsmithson@cpllabs.com];Karen Pruett ‐ CPL              [Johanna.Furlong@blmlaw.com];Maura Carter                                                                                                                                                           E‐mail from underlying defense counsel regarding litigation and trial developments in
      AONCPLSONIC‐0004341   AONCPLSONIC‐0004341 ‐ AONCPLSONIC‐0004342   4/20/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [kpruett@cpllabs.com]                                   [maura@jamesrkehoe.com]                                00000000823056EF5D3D464593A22F2EBC07D03D44082000.MSG       FW: DAY 2 20th April 2018 Phelan v HSE                 EMAIL    Both (AC & WP)    the Phelan claim and strategy associated with resolution/settlement.
                                                                                                                                                           Sheridan A. Foster                                                                                                                                                                                                                                          E‐mail forwarding on, regarding, and building off of correspondence with underlying
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Stephen Shumpert                                                                                                                                                                                                           defense counsel regarding potential resolution of the Phelan claim and associated
      AONCPLSONIC‐0004464   AONCPLSONIC‐0004464 ‐ AONCPLSONIC‐0004469   4/23/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [sshumpert@sonichealthcareusa.com]                                                                             000000008A4DDD97ACCEBE4E961F101CBD5233E284D12000.MSG RE: Vicky Phelan‐v‐ HSE & CPL                                EMAIL    Both (AC & WP)    strategy.

                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail forwarding on, regarding, and building off of correspondence with underlying
                                                                                                                                                                                                                                                                                                                                                                                                                       defense counsel regarding developments in and assessment of trial in the Phelan claim,
      AONCPLSONIC‐0004470   AONCPLSONIC‐0004470 ‐ AONCPLSONIC‐0004471   4/23/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              00000000823056EF5D3D464593A22F2EBC07D03DC4082000.MSG       FW: Phelan v HSE and CPL                               EMAIL    Both (AC & WP)    potential resolution of the Phelan claim, and associated strategy.

                                                                                                                                                           O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Stephen
                                                                                                                                                           Shumpert [sshumpert@sonichealthcareusa.com];Karen
                                                                                                                                                           Pruett ‐ CPL [kpruett@cpllabs.com];Gordon Young         Furlong, Johanna
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                        E‐mail to underlying defense counsel regarding delivery of evidence and building off
      AONCPLSONIC‐0004472   AONCPLSONIC‐0004472 ‐ AONCPLSONIC‐0004475   4/23/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                   [Clifford.Healy@blmlaw.com]                            000000008A4DDD97ACCEBE4E961F101CBD5233E2A4182000.MSG RE: Vicky Phelan‐v‐ HSE & CPL                                EMAIL    Both (AC & WP)    and including e‐mail chain regarding litigation strategy and legal advice.
                                                                                                                                                           Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young
                                                                                                                                                           (Gordon.Young@sonichealthcare.com)                                                                                                                                                                                                                          E‐mail forwarding on and regarding correspondence with underlying defense counsel
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken                                                                                                                                                                                                              regarding litigation developments in the Phelan Claim, delivery of key evidence, and
      AONCPLSONIC‐0004476   AONCPLSONIC‐0004476 ‐ AONCPLSONIC‐0004479   4/23/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                                                                          00000000823056EF5D3D464593A22F2EBC07D03D64B92000.MSG       FW: Vicky Phelan‐v‐ HSE & CPL                          EMAIL    Both (AC & WP)    legal advice.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Gordon Young                      Furlong, Johanna                                                                                                                                                                                    E‐mail from underlying defense counsel regarding discussion of the Phelan Claim and
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Jakob Onken          [Johanna.Furlong@blmlaw.com];Healy, Clifford                                                                                                                                                        including and building off of e‐mail chain regarding litigation developments and legal
      AONCPLSONIC‐0004480   AONCPLSONIC‐0004480 ‐ AONCPLSONIC‐0004483   4/23/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   [Clifford.Healy@blmlaw.com]                            000000008A4DDD97ACCEBE4E961F101CBD5233E204D22000.MSG RE: Vicky Phelan‐v‐ HSE & CPL                                EMAIL    Both (AC & WP)    strategy.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Steve R. Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken
                                                                                                                                                           [jakob.onken@aon.com];Brian Madden                                                                                                                                                                                                                          E‐mail chain regarding the potential resolution of the Phelan claim that includes and
                                                                                                                                                           [Brian.Madden@medlabpathology.ie];Jerry W. Hussong      Chris Wilks [cdwilks@bigpond.com];Colin Goldschmidt                                                                                                                                                 builds off of e‐mail chain regarding the same topic that includes and directly involves
      AONCPLSONIC‐0004484   AONCPLSONIC‐0004484 ‐ AONCPLSONIC‐0004485   4/23/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       [JHussong@sonichealthcareusa.com]                       [colgold@msn.com.au]                                   000000008A4DDD97ACCEBE4E961F101CBD5233E2C4182000.MSG RE: Vicky Phelan‐v‐ HSE & CPL                                EMAIL    Both (AC & WP)    outside legal counsel.
                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail chain regarding the potential resolution of the Phelan claim that includes and
                                                                                                                                                                                                                                                                                                                                                                                                                       builds off of e‐mail chain regarding the same topic that includes and directly involves
      AONCPLSONIC‐0004486   AONCPLSONIC‐0004486 ‐ AONCPLSONIC‐0004487   4/24/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            000000005BACBBCCAD51424BB867EE79BAA1A5FC84D62000.MSG RE: Phelan v HSE and CPL                                     EMAIL    Both (AC & WP)    outside legal counsel.
                                                                                                                                                           Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Jakob Onken                                                                                                                                                                                                                         E‐mail forwarding on correspondence with underlying defense counsel regarding
      AONCPLSONIC‐0004488   AONCPLSONIC‐0004488 ‐ AONCPLSONIC‐0004489   4/24/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                                                                          000000008A4DDD97ACCEBE4E961F101CBD5233E2E4182000.MSG FW: Phelan                                                   EMAIL    Both (AC & WP)    potential resolution of the Phelan claim.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                           E‐mail from underlying defense counsel regarding resolution strategy and
      AONCPLSONIC‐0004491   AONCPLSONIC‐0004491 ‐ AONCPLSONIC‐0004492   4/24/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   Furlong, Johanna [Johanna.Furlong@blmlaw.com]          000000008A4DDD97ACCEBE4E961F101CBD5233E244192000.MSG Phelan                                                       EMAIL    Both (AC & WP)    developments vis‐a‐vis the Phelan claim.

                                                                                                                                                           O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Bobby L.
                                                                                                                                                           Smithson [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                           E‐mail responding to e‐mail from underlying defense counsel regarding resolution
      AONCPLSONIC‐0004493   AONCPLSONIC‐0004493 ‐ AONCPLSONIC‐0004494   4/24/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                   Furlong, Johanna [Johanna.Furlong@blmlaw.com]          00000000823056EF5D3D464593A22F2EBC07D03D64092000.MSG       RE: Phelan                                             EMAIL    Both (AC & WP)    strategy and developments vis‐a‐vis the Phelan claim.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                           E‐mail from underlying defense counsel regarding resolution strategy and
      AONCPLSONIC‐0004495   AONCPLSONIC‐0004495 ‐ AONCPLSONIC‐0004496   4/24/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   Furlong, Johanna [Johanna.Furlong@blmlaw.com]          00000000823056EF5D3D464593A22F2EBC07D03D84092000.MSG       RE: Phelan                                             EMAIL    Both (AC & WP)    developments vis‐a‐vis the Phelan claim.

                                                                                                                                                           O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Bobby L.
                                                                                                                                                           Smithson [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                           E‐mail to underlying defense counsel regarding resolution strategy and developments
      AONCPLSONIC‐0004497   AONCPLSONIC‐0004497 ‐ AONCPLSONIC‐0004498   4/24/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                   Furlong, Johanna [Johanna.Furlong@blmlaw.com]          000000008A4DDD97ACCEBE4E961F101CBD5233E264192000.MSG RE: Phelan                                                   EMAIL    Both (AC & WP)    vis‐a‐vis the Phelan claim.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                           E‐mail from underlying defense counsel regarding litigation and resolution issues
      AONCPLSONIC‐0004499   AONCPLSONIC‐0004499 ‐ AONCPLSONIC‐0004501   4/24/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                   Furlong, Johanna [Johanna.Furlong@blmlaw.com]          00000000823056EF5D3D464593A22F2EBC07D03D04BA2000.MSG RE: Phelan                                                   EMAIL    Both (AC & WP)    regarding the Phelan claim.


                                                                                                                                                           Bobby L. Smithson [bsmithson@cpllabs.com];Sheridan A.
                                                                                                                                                           Foster [sfoster@sonichealthcareusa.com];Stephen
                                                                                                                                                           Shumpert [sshumpert@sonichealthcareusa.com];Jakob
                                                                                                                                                           Onken [jakob.onken@aon.com];Karen Pruett
      AONCPLSONIC‐0004502   AONCPLSONIC‐0004502 ‐ AONCPLSONIC‐0004503   4/24/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [kpruett@cpllabs.com]                                   Furlong, Johanna [Johanna.Furlong@blmlaw.com]          000000005BACBBCCAD51424BB867EE79BAA1A5FCC4D72000.MSG FW:                                                          EMAIL    Both (AC & WP)    E‐mail from underlying defense counsel regarding trial in the Phelan claim.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [bsmithson@cpllabs.com];Stephen Shumpert
                                                                                                                                                           [sshumpert@sonichealthcareusa.com];Karen Pruett
                                                                                                                                                           [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                           E‐mail from underlying defense counsel regarding trial in the Phelan claim, expert
YES   AONCPLSONIC‐0004721   AONCPLSONIC‐0004721 ‐ AONCPLSONIC‐0004724   4/25/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           [jakob.onken@aon.com]                                                                                          000000008A4DDD97ACCEBE4E961F101CBD5233E2241A2000.MSG FW: VP v HSE & CPL Inc [Medlab Pathology] [MED001/0004] [VEMAIL       Both (AC & WP)    reports, and related litigation developments, strategy, and legal advice.
      AONCPLSONIC‐0004721   AONCPLSONIC‐0004736 ‐ AONCPLSONIC‐0004739                                                                                                                                                                                                     Victoria Phelan Supplementary.docx                                                                             DOCUMENT    Work Product      Expert report related to Phelan claim.
                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail exchange in anticipation of potential insurance coverage dispute and potential
                                                                                                                                                                                                                                                                                                                                                                                                                       litigation with Homeland/OneBeacon regarding Homeland/OneBeacon's requests for
      AONCPLSONIC‐0004742   AONCPLSONIC‐0004742 ‐ AONCPLSONIC‐0004745   4/26/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              00000000823056EF5D3D464593A22F2EBC07D03D24BB2000.MSG FW: Phelan Investigative Follow‐Up Letter.pdf                EMAIL    Work Product      information regarding the Phelan claim.
                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail exchange in anticipation of potential insurance coverage dispute and potential
                                                                                                                                                                                                                                                                                                                                                                                                                       litigation with Homeland/OneBeacon regarding Homeland/OneBeacon's requests for
      AONCPLSONIC‐0004747   AONCPLSONIC‐0004747 ‐ AONCPLSONIC‐0004750   4/26/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                            000000008A4DDD97ACCEBE4E961F101CBD5233E204D42000.MSG RE: Phelan Investigative Follow‐Up Letter.pdf                EMAIL    Work Product      information regarding the Phelan claim.
                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail forwarding on, regarding, and building off of correspondence with underlying
                                                                                                                                                                                                                                                                                                                                                                                                                       defense counsel regarding, among other things, costs information associated with
YES   AONCPLSONIC‐0004761   AONCPLSONIC‐0004761 ‐ AONCPLSONIC‐0004762    5/2/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                              00000000823056EF5D3D464593A22F2EBC07D03D040C2000.MSG       RE: VP v CPL                                           EMAIL    Both (AC & WP)    Phelan claim.

                                                                                                                                                           Karen Pruett ‐ CPL [kpruett@cpllabs.com];Brian Madden   Bobby L. Smithson [bsmithson@cpllabs.com];Sabrina                                                                                                                                                   Correspondence regarding and in anticipation of potential for additional
      AONCPLSONIC‐0004761   AONCPLSONIC‐0004764 ‐ AONCPLSONIC‐0004766    5/1/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [brian.madden@medlabpathology.ie]                       Carter [sabrina.carter@medlabpathology.ie]             RE_ Request for information                                RE: Request for information                            EMAIL    Work Product      litigation/claims to be made against CPL regarding its Irish CervicalCheck work.
                                                                                                                                                                                                                   Sheridan A. Foster
                                                                                                                                                                                                                   [sfoster@sonichealthcareusa.com];James West
                                                                                                                                                                                                                   [jwest@sonichealthcareusa.com];Jakob Onken                                                                                                                                                          E‐mail forwarding on e‐mail from underlying defense counsel, and regarding costs
      AONCPLSONIC‐0004767   AONCPLSONIC‐0004767 ‐ AONCPLSONIC‐0004769   5/14/2018 Matthew Conn       Matthew Conn [matthew.conn@aon.com]                   Gordon Young [Gordon.Young@sonichealthcare.com]         [jakob.onken@aon.com]                                  000000008A4DDD97ACCEBE4E961F101CBD5233E2C4F92000.MSG RE: VP v HSE & CPL                                           EMAIL    Both (AC & WP)    assessed in the Phelan claim, and coverage for and payment of those costs.
                                                                                                                                                                                                                   Sheridan A. Foster
                                                                                                                                                                                                                   [sfoster@sonichealthcareusa.com];James West
                                                                                                                                                                                                                   [jwest@sonichealthcareusa.com];Jakob Onken                                                                                                                                                          E‐mail forwarding on e‐mail from underlying defense counsel, and regarding costs
      AONCPLSONIC‐0004770   AONCPLSONIC‐0004770 ‐ AONCPLSONIC‐0004772   5/14/2018 Matthew Conn       Matthew Conn [matthew.conn@aon.com]                   Gordon Young [Gordon.Young@sonichealthcare.com]         [jakob.onken@aon.com]                                  000000008A4DDD97ACCEBE4E961F101CBD5233E2E4F92000.MSG RE: VP v HSE & CPL                                           EMAIL    Both (AC & WP)    assessed in the Phelan claim, and coverage for and payment of those costs.
                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail chain regarding strategy associated with gathering information to send to
                                                                                                                                                                                                                                                                                                                                                                                                                       Homeland/OneBeacon, who at that time had already requested information that had
                                                                                                                                                                                                                                                                                                                                                                                                                       no bearing on the adjustment of CPL's claim, and by doing so and otherwise had
                                                                                                                                                                                                                   Karen Pruett ‐ CPL [kpruett@cpllabs.com];David Lewis                                                                                                                                                suggested that they would deny coverage for, or delay coverage for, the CPL's claim
      AONCPLSONIC‐0004775   AONCPLSONIC‐0004775 ‐ AONCPLSONIC‐0004776   5/24/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]     [david.lewis1@aon.com]                                 00000000F6482EE29DCBF44FA0366F4CA35DA5ABC4E32000.MSG       RE: Med Labs ‐ Vero claim notification                 EMAIL    Work Product      (and thus a dispute or litigation was possible).
                                                                                                                                                                                                                                                                                                                                                                                                                       E‐mail chain including Mark Beaman (outside counsel) and regarding insurance
      AONCPLSONIC‐0004777   AONCPLSONIC‐0004777 ‐ AONCPLSONIC‐0004778   5/29/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                       Karen Pruett ‐ CPL [kpruett@cpllabs.com]               000000008A4DDD97ACCEBE4E961F101CBD5233E2C4202000.MSG FW: Letter Re Bulk Claim Report                              EMAIL    Attorney/Client   coverage issues with Homeland/OneBeacon.
                                                                                                                                                                                                                   brian.madden@medlabpathology.ie;Gordon Young
                                                                                                                                                           O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Mark        (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           Beaman [mbeaman@germer‐austin.com];Karen Pruett ‐       [Gordon.Young@sonichealthcare.com];Jakob Onken                                                                                                                                                      E‐mail to outside counsel regarding litigation developments in, and legal advice
      AONCPLSONIC‐0004836   AONCPLSONIC‐0004836 ‐ AONCPLSONIC‐0004837   5/30/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   CPL [kpruett@cpllabs.com]                               [jakob.onken@aon.com]                                  00000000F6482EE29DCBF44FA0366F4CA35DA5AB04232100.MSG       RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL   Both (AC & WP)    regarding, the Curtis matter.
                                                                                              Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 6 of 12
                                                                                                                                                                                                                                                                                                                                                                                                      PRIVILEGE AND REDACTION LOG

                                                                                                                                                                                                                   Mark Beaman [mbeaman@germer‐austin.com];Karen
                                                                                                                                                                                                                   Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                                                                                   (matthew.conn@aon.com)
                                                                                                                                                                                                                   [matthew.conn@aon.com];Jakob Onken                                                                                                                                                                   Privileged correspondence including and involving outside counsel, and regarding the
      AONCPLSONIC‐0004838   AONCPLSONIC‐0004838 ‐ AONCPLSONIC‐0004840   5/30/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]             [jakob.onken@aon.com]                               00000000C59E511A9877154FAD6343EC2F9C119224972000.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Attorney/Client   defense against one or more underlying claims.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                           Sheridan A. Foster                                      (matthew.conn@aon.com)
                                                                                                                                                           [sfoster@sonichealthcareusa.com];O'Roarty, Nessa        [matthew.conn@aon.com];Jakob Onken                                                                                                                                                                   E‐mail from outside counsel regarding the defense against, and litigation developments
      AONCPLSONIC‐0004841   AONCPLSONIC‐0004841 ‐ AONCPLSONIC‐0004843   5/30/2018 Mark Beaman        Mark Beaman [mbeaman@germer‐austin.com]               [Nessa.O'Roarty@blmlaw.com]                             [jakob.onken@aon.com]                               000000008A4DDD97ACCEBE4E961F101CBD5233E2C4212000.MSG RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL             Both (AC & WP)    in and legal advice regarding, the Curtis matter.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                                                                                   (matthew.conn@aon.com)
                                                                                                                                                                                                                   [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                                                                                   [jakob.onken@aon.com];Healy, Clifford
                                                                                                                                                           Mark Beaman [mbeaman@germer‐austin.com];Sheridan        [Clifford.Healy@blmlaw.com];Heeney, Aisling                                                                                                                                                          E‐mail from outside counsel regarding discovery and file‐related issues associated with
      AONCPLSONIC‐0004844   AONCPLSONIC‐0004844 ‐ AONCPLSONIC‐0004847   5/31/2018 O'Roarty, Nessa    O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com]           A. Foster [sfoster@sonichealthcareusa.com]              [Aisling.Heeney@blmlaw.com]                         00000000F6482EE29DCBF44FA0366F4CA35DA5ABC4232100.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Both (AC & WP)    the Curtis matter.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                                                                                   (matthew.conn@aon.com)
                                                                                                                                                                                                                   [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                                                                                   [jakob.onken@aon.com];Healy, Clifford
                                                                                                                                                           O'Roarty, Nessa [Nessa.O'Roarty@blmlaw.com];Mark        [Clifford.Healy@blmlaw.com];Heeney, Aisling                                                                                                                                                          E‐mail to outside counsel regarding discovery and file‐related issues associated with the
      AONCPLSONIC‐0004848   AONCPLSONIC‐0004848 ‐ AONCPLSONIC‐0004851   5/31/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Beaman [mbeaman@germer‐austin.com]                      [Aisling.Heeney@blmlaw.com]                         000000009E03231BE12D5A40A16362883399A8B724722000.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Both (AC & WP)    Curtis matter, and several other matters.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                           Sheridan A. Foster                                      (matthew.conn@aon.com)
                                                                                                                                                           [sfoster@sonichealthcareusa.com];O'Roarty, Nessa        [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                           [Nessa.O'Roarty@blmlaw.com];Mark Beaman                 [jakob.onken@aon.com];Heeney, Aisling                                                                                                                                                                E‐mail from outside counsel regarding discovery and file‐related issues associated with
      AONCPLSONIC‐0004852   AONCPLSONIC‐0004852 ‐ AONCPLSONIC‐0004856   5/31/2018 Healy, Clifford    Healy, Clifford [Clifford.Healy@blmlaw.com]           [mbeaman@germer‐austin.com]                             [Aisling.Heeney@blmlaw.com]                         00000000F6482EE29DCBF44FA0366F4CA35DA5AB04242100.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Both (AC & WP)    the Curtis matter, and several other matters.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
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                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
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                                                                                                                                                           Healy, Clifford [Clifford.Healy@blmlaw.com];O'Roarty,   [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                           Nessa [Nessa.O'Roarty@blmlaw.com];Mark Beaman           [jakob.onken@aon.com];Heeney, Aisling                                                                                                                                                                E‐mail to outside counsel regarding discovery and file‐related issues associated with the
      AONCPLSONIC‐0004857   AONCPLSONIC‐0004857 ‐ AONCPLSONIC‐0004861   5/31/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                             [Aisling.Heeney@blmlaw.com]                         00000000F6482EE29DCBF44FA0366F4CA35DA5AB24242100.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Both (AC & WP)    Curtis matter, and several other matters.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                           Sheridan A. Foster                                      (matthew.conn@aon.com)
                                                                                                                                                           [sfoster@sonichealthcareusa.com];O'Roarty, Nessa        [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                           [Nessa.O'Roarty@blmlaw.com];Mark Beaman                 [jakob.onken@aon.com];Heeney, Aisling                                                                                                                                                                E‐mail from outside counsel regarding discovery and file‐related issues associated with
      AONCPLSONIC‐0004862   AONCPLSONIC‐0004862 ‐ AONCPLSONIC‐0004867   5/31/2018 Healy, Clifford    Healy, Clifford [Clifford.Healy@blmlaw.com]           [mbeaman@germer‐austin.com]                             [Aisling.Heeney@blmlaw.com]                         000000009E03231BE12D5A40A16362883399A8B764722000.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Both (AC & WP)    the Curtis matter, and several other matters.
                                                                                                                                                                                                                   Karen Pruett ‐ CPL
                                                                                                                                                                                                                   [kpruett@cpllabs.com];brian.madden@medlabpatholog
                                                                                                                                                                                                                   y.ie;Gordon Young
                                                                                                                                                                                                                   (Gordon.Young@sonichealthcare.com)
                                                                                                                                                                                                                   [Gordon.Young@sonichealthcare.com];Matthew Conn
                                                                                                                                                                                                                   (matthew.conn@aon.com)
                                                                                                                                                           Healy, Clifford [Clifford.Healy@blmlaw.com];O'Roarty,   [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                           Nessa [Nessa.O'Roarty@blmlaw.com];Mark Beaman           [jakob.onken@aon.com];Heeney, Aisling                                                                                                                                                                E‐mail to outside counsel regarding discovery and file‐related issues associated with the
      AONCPLSONIC‐0004868   AONCPLSONIC‐0004868 ‐ AONCPLSONIC‐0004873   5/31/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                             [Aisling.Heeney@blmlaw.com]                         0000000036C54A489D109242BC9382779EB9EE1EC4572000.MSG        RE: Curtis Matter E004020810 [BLM‐LAW‐DUBLIN.FID109779] EMAIL      Both (AC & WP)    Curtis matter, and several other matters.

                                                                                                                                                                                                                   Mark Beaman [mbeaman@germer‐austin.com];Karen                                                                                                                                                        Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004874   AONCPLSONIC‐0004874 ‐ AONCPLSONIC‐0004882    6/8/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                       Pruett ‐ CPL [kpruett@cpllabs.com]                  00000000823056EF5D3D464593A22F2EBC07D03DC47D2000.MSG FW: VERO Claim No.: E004257253 ‐‐ SONIC / MEDLAB ats SHAREMAIL            Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                   Mark Beaman [mbeaman@germer‐austin.com];Karen                                                                                                                                                        Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004883   AONCPLSONIC‐0004883 ‐ AONCPLSONIC‐0004891    6/8/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]     Pruett ‐ CPL [kpruett@cpllabs.com]                  00000000823056EF5D3D464593A22F2EBC07D03D24B52000.MSG        RE: VERO Claim No.: E004257253 ‐‐ SONIC / MEDLAB ats SHAREMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                   Mark Beaman [mbeaman@germer‐austin.com];Karen                                                                                                                                                        Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004898   AONCPLSONIC‐0004898 ‐ AONCPLSONIC‐0004906   6/11/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                       Pruett ‐ CPL [kpruett@cpllabs.com]                  00000000823056EF5D3D464593A22F2EBC07D03DA4B62000.MSG Re: VERO Claim No.: E004257253 ‐‐ SONIC / MEDLAB ats SHAREMAIL            Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                   Mark Beaman [mbeaman@germer‐austin.com];Karen                                                                                                                                                        Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004912   AONCPLSONIC‐0004912 ‐ AONCPLSONIC‐0004921   6/12/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                       Pruett ‐ CPL [kpruett@cpllabs.com]                  00000000823056EF5D3D464593A22F2EBC07D03DE4712000.MSG        RE: VERO Claim No.: E004257253 ‐‐ SONIC / MEDLAB ats SHAREMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                Stephen Shumpert
                                                                                                                                                           Mark Silberman [msilberman@cpllabs.com];Mark Beaman [sshumpert@sonichealthcareusa.com];Jerry W. Hussong
                                                                                                                                                           [mbeaman@germer‐austin.com];Karen Pruett ‐ CPL       [JHussong@sonichealthcareusa.com];Bobby L. Smithson
                                                                                                                                                           [kpruett@cpllabs.com];Shannon S. kratzer             [bsmithson@cpllabs.com];Jakob Onken
      AONCPLSONIC‐0004922   AONCPLSONIC‐0004922 ‐ AONCPLSONIC‐0004922   6/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [skratzer@cpllabs.com]                               [jakob.onken@aon.com]                               000000008A4DDD97ACCEBE4E961F101CBD5233E2842B2000.MSG Phelan News Article                                     EMAIL                Attorney/Client   E‐mail to outside counsel regarding Phelan's medical condition.
                                                                                                                                                           Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                         Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004925   AONCPLSONIC‐0004925 ‐ AONCPLSONIC‐0004925   6/18/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                Mark Beaman [mbeaman@germer‐austin.com]             000000001A26EA0ADAC5884082475D43A0135D4D84802000.MSG MC Case Filed with OneBeacon CONFIDENTIAL: ATTORNEY‐CLI EMAIL                Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                   Jakob Onken [jakob.onken@aon.com];Amanda
                                                                                                                                                                                                                   Mudaliar
                                                                                                                                                           Mark Beaman [mbeaman@germer‐austin.com];Karen           (amanda.mudaliar@riskadvisoryservices.com.au)
                                                                                                                                                           Pruett ‐ CPL                                            [amanda.mudaliar@riskadvisoryservices.com.au];Gordo                                                                                                                                                  E‐mail to underlying defense counsel to facilitate the defense against certain
                                                                                                                                                           [kpruett@cpllabs.com];brian.madden@medlabpathology.     n Young (Gordon.Young@sonichealthcare.com)                                                                                                                                                           underlying Irish CervicalCheck claims and also regarding insurance coverage for the
      AONCPLSONIC‐0004957   AONCPLSONIC‐0004957 ‐ AONCPLSONIC‐0004958   6/20/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   ie;Mark Silberman [msilberman@cpllabs.com]              [Gordon.Young@sonichealthcare.com]                  00000000DC08669E4FFB0F4393710DD205BEEF77C43F2000.MSG        FW: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATTEMAIL    Both (AC & WP)    same.
                                                                                                                                                           Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                         Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004960   AONCPLSONIC‐0004960 ‐ AONCPLSONIC‐0004962   6/20/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                   Mark Beaman [mbeaman@germer‐austin.com]             000000009E03231BE12D5A40A16362883399A8B704792000.MSG        FW: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATTEMAIL    Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                   Amanda Mudaliar
                                                                                                                                                           Sheridan A. Foster                                      (amanda.mudaliar@riskadvisoryservices.com.au)
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman            [amanda.mudaliar@riskadvisoryservices.com.au];Gordo
                                                                                                                                                           [mbeaman@germer‐austin.com];Karen Pruett ‐ CPL          n Young (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           [kpruett@cpllabs.com];brian.madden@medlabpathology.     [Gordon.Young@sonichealthcare.com];Peter
      AONCPLSONIC‐0004967   AONCPLSONIC‐0004967 ‐ AONCPLSONIC‐0004969   6/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     ie;Mark Silberman [msilberman@cpllabs.com]              Berardinucci [peter.berardinucci@aon.com]           00000000C59E511A9877154FAD6343EC2F9C119224942000.MSG        RE: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATT EMAIL   Both (AC & WP)    Correspondence with insurance coverage counsel regarding draft letter to OneBeacon.
                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Karen Pruett ‐ CPL                                                                                                                                                                                                          Privileged correspondence including and involving outside counsel, and regarding legal
YES   AONCPLSONIC‐0004970   AONCPLSONIC‐0004970 ‐ AONCPLSONIC‐0004972   6/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [kpruett@cpllabs.com]                                   Mark Beaman [mbeaman@germer‐austin.com]             000000009E03231BE12D5A40A16362883399A8B7247A2000.MSG        RE: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATT EMAIL   Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                               Amanda Mudaliar
                                                                                                                                                           Sheridan A. Foster                                  (amanda.mudaliar@riskadvisoryservices.com.au)
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman        [amanda.mudaliar@riskadvisoryservices.com.au];Gordo
                                                                                                                                                           [mbeaman@germer‐austin.com];Karen Pruett ‐ CPL      n Young (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           [kpruett@cpllabs.com];brian.madden@medlabpathology. [Gordon.Young@sonichealthcare.com];Peter
      AONCPLSONIC‐0004970   AONCPLSONIC‐0004973 ‐ AONCPLSONIC‐0004975   6/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     ie;Mark Silberman [msilberman@cpllabs.com]          Berardinucci [peter.berardinucci@aon.com]           RE_ M30378.9_ Charlotte Patricia Gavigan CONFIDENTIAL_ ATTORN RE: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATT EMAIL     Both (AC & WP)    Correspondence with insurance coverage counsel regarding draft letter to OneBeacon.

                                                                                                                                                           Amanda Mudaliar
                                                                                                                                                           [amanda.mudaliar@riskadvisoryservices.com.au];Gordon
                                                                                                                                                           Young (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Mark Beaman
                                                                                                                                                           [mbeaman@germer‐austin.com];Karen Pruett ‐ CPL
                                                                                                                                                           [kpruett@cpllabs.com];Matthew Conn
                                                                                                                                                           (matthew.conn@aon.com)
                                                                                                                                                           [matthew.conn@aon.com];Jakob Onken
                                                                                                                                                           [jakob.onken@aon.com];Peter Berardinucci                                                                                                                                                                                                                     Correspondence with and including insurance coverage counsel regarding insurance
                                                                                                                                                           (peter.berardinucci@aon.com)                                                                                                                                                                                                                                 coverage matters, including responding to OneBeacon/Homeland's voluminous and
                                                                                                                                                           [peter.berardinucci@aon.com];Pam Ross (pross@germer‐                                                                                                                                                                                                         harassing "requests for information," and also regarding the defense against certain
      AONCPLSONIC‐0004976   AONCPLSONIC‐0004976 ‐ AONCPLSONIC‐0004977   6/21/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   austin.com) [pross@germer‐austin.com]                                                                       00000000C59E511A9877154FAD6343EC2F9C119244942000.MSG        RE: Professional Liability Claims Review                  EMAIL    Both (AC & WP)    Irish CervicalCheck claims.
                                                                                                                                                           Jakob Onken [jakob.onken@aon.com];Karen Pruett ‐ CPL                                                                                                                                                                                                         Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004978   AONCPLSONIC‐0004978 ‐ AONCPLSONIC‐0004980   6/21/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [kpruett@cpllabs.com]                                Mark Beaman [mbeaman@germer‐austin.com]                00000000C59E511A9877154FAD6343EC2F9C119284942000.MSG        RE: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATT EMAIL   Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 7 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                   PRIVILEGE AND REDACTION LOG

                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence with and including insurance coverage counsel regarding insurance
                                                                                                                                                           Mark Beaman [mbeaman@germer‐austin.com];Jakob                                                                                                                                                                                                                             coverage matters, and to further the facilitation of insurance coverage counsel's
      AONCPLSONIC‐0004981   AONCPLSONIC‐0004981 ‐ AONCPLSONIC‐0004983   6/22/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Onken [jakob.onken@aon.com]                            Karen Pruett ‐ CPL [kpruett@cpllabs.com]               000000001A26EA0ADAC5884082475D43A0135D4D641B2000.MSG FW: Professional Liability Claims Review                                   EMAIL     Attorney/Client   rendering of legal advice.
                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman                                                                                                                                                                                                                              Correspondence sent at the direction of, and with and including, insurance coverage
      AONCPLSONIC‐0004984   AONCPLSONIC‐0004984 ‐ AONCPLSONIC‐0004986   6/25/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   [mbeaman@germer‐austin.com]                            Karen Pruett ‐ CPL [kpruett@cpllabs.com]               000000005BACBBCCAD51424BB867EE79BAA1A5FC64632000.MSG RE: Professional Liability Claims Review                                   EMAIL     Both (AC & WP)    counsel, regarding insurance coverage matters vis‐a‐vis the Irish CervicalCheck claims.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential spreadsheet prepared by outside counsel regarding pending
      AONCPLSONIC‐0004991   AONCPLSONIC‐0004993 ‐ AONCPLSONIC‐0004993   6/26/2018 Lisa Clarke                                                                                                                                                                            MLP & CPL update of incidents 26 June 2018 .xlsx                                                                                EXCEL     Attorney/Client   litigation.
                                                                                                                                                                                                                  Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken
                                                                                                                                                           Gordon Young (Gordon.Young@sonichealthcare.com)        [jakob.onken@aon.com];Mark Beaman                                                                                                                                                                                  Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0004999   AONCPLSONIC‐0004999 ‐ AONCPLSONIC‐0004999   6/29/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [Gordon.Young@sonichealthcare.com]                     [mbeaman@germer‐austin.com]                            000000009E03231BE12D5A40A16362883399A8B744E12000.MSG              FW: Cathal Curtis v. MedLab Pathology                         EMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence forwarding on e‐mail including underlying defense counsel and
                                                                                                                                                                                                                                                                                                                                                                                                                                     insurance coverage counsel that discusses and regards defense strategy vis‐a‐vis the
                                                                                                                                                                                                                                                                                                                                                                                                                                     underlying Irish CervicalCheck claims, the potential resolution/settlement of the Curtis
      AONCPLSONIC‐0005006   AONCPLSONIC‐0005006 ‐ AONCPLSONIC‐0005012    7/1/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                             000000005BACBBCCAD51424BB867EE79BAA1A5FCC4482000.MSG Fwd: Cathal Curtis ‐ E002066374 ‐ Medlab CONFIDENTIAL: AEMAIL                        Both (AC & WP)    claim, and insurance coverage issues regarding the same, among other issues.
                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Karen Pruett ‐ CPL                                                                                                                                                                                                                       Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005110   AONCPLSONIC‐0005110 ‐ AONCPLSONIC‐0005113   7/11/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   [kpruett@cpllabs.com]                                  Mark Beaman [mbeaman@germer‐austin.com]                0000000036C54A489D109242BC9382779EB9EE1E24212100.MSG              RE: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATT EMAIL        Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                           Jakob Onken [jakob.onken@aon.com];Karen Pruett ‐ CPL                                                                                                                                                                                                                      Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005116   AONCPLSONIC‐0005116 ‐ AONCPLSONIC‐0005119   7/11/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [kpruett@cpllabs.com]                                  Mark Beaman [mbeaman@germer‐austin.com]                000000005BACBBCCAD51424BB867EE79BAA1A5FCC4582000.MSG RE: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATT EMAIL                     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence with insurance coverage counsel regarding information associated
                                                                                                                                                           Jakob Onken [jakob.onken@aon.com];Mark Beaman                                                                                                                                                                                                                             with the underlying Irish CervicalCheck claims, Homeland's requests for information,
      AONCPLSONIC‐0005148   AONCPLSONIC‐0005148 ‐ AONCPLSONIC‐0005152   7/20/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                            Karen Pruett ‐ CPL [kpruett@cpllabs.com]               0000000036C54A489D109242BC9382779EB9EE1E84162100.MSG              RE: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL   Both (AC & WP)    and what information (if any) should be provided to Homeland.

                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Karen                                                                                                                                                                      Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005153   AONCPLSONIC‐0005153 ‐ AONCPLSONIC‐0005157   7/20/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   Sheridan A. Foster [sfoster@sonichealthcareusa.com]    Pruett ‐ CPL [kpruett@cpllabs.com]                     0000000036C54A489D109242BC9382779EB9EE1EA4162100.MSG              Re: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL   Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                           Sheridan A. Foster                                                                                                                                                                                                                                                        Correspondence with insurance coverage counsel regarding what information (if any)
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman                                                                                                                                                                                                                              to provide to Homeland's outside counsel who was clearly acting as a claims
      AONCPLSONIC‐0005162   AONCPLSONIC‐0005162 ‐ AONCPLSONIC‐0005166   7/26/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   [mbeaman@germer‐austin.com]                            Karen Pruett ‐ CPL [kpruett@cpllabs.com]             000000001A26EA0ADAC5884082475D43A0135D4D44272000.MSG RE: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL                  Both (AC & WP)    adjuster/investigator.
                                                                                                                                                                                                                  Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman                                                                                                                                                               Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005167   AONCPLSONIC‐0005167 ‐ AONCPLSONIC‐0005176   7/26/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [mbeaman@germer‐austin.com]                          00000000C59E511A9877154FAD6343EC2F9C119204142000.MSG FW: CPL slide to be sent to MedLab re: Direction for Release ‐ EMAIL                   Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence with insurance coverage counsel regarding letter received from
                                                                                                                                                                                                                  Jakob Onken [jakob.onken@aon.com];Karen Pruett ‐ CPL                                                                                                                                                               Homeland's outside counsel who was acting as claims adjuster/investigator, and
      AONCPLSONIC‐0005179   AONCPLSONIC‐0005179 ‐ AONCPLSONIC‐0005180   7/26/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Mark Beaman [mbeaman@germer‐austin.com]                [kpruett@cpllabs.com]                                000000009E03231BE12D5A40A16362883399A8B784142000.MSG                FW: Cathal Curtis v. MedLab Pathology ATTORNEY‐CLIENT PRIVEMAIL         Both (AC & WP)    therefore was conducting ordinary‐course insurance business.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence with insurance coverage counsel regarding how to respond to
                                                                                                                                                                                                                                                                                                                                                                                                                                     Homeland's outside counsel's information requests when that outside counsel
                                                                                                                                                           Jakob Onken [jakob.onken@aon.com];Mark Beaman                                                                                                                                                                                                                             expressly said that it‐‐and not Homeland‐‐was leading the investigation of the Irish
      AONCPLSONIC‐0005186   AONCPLSONIC‐0005186 ‐ AONCPLSONIC‐0005190   7/26/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                            Karen Pruett ‐ CPL [kpruett@cpllabs.com]               000000001A26EA0ADAC5884082475D43A0135D4DC4262000.MSG RE: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL                Both (AC & WP)    CervicalCheck claims.
                                                                                                                                                           Sheridan A. Foster                                                                                                                                                                                                                                                        Correspondence from outside insurance coverage counsel with legal advice regarding
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Jakob Onken                                                                                                                                                                                                                              responding to Homeland's outside counsel's communications when that outside
      AONCPLSONIC‐0005191   AONCPLSONIC‐0005191 ‐ AONCPLSONIC‐0005196   7/26/2018 Mark Beaman          Mark Beaman [mbeaman@germer‐austin.com]             [jakob.onken@aon.com]                                  Karen Pruett ‐ CPL [kpruett@cpllabs.com]               000000009E03231BE12D5A40A16362883399A8B764142000.MSG              RE: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL   Attorney/Client   counsel was acting as an insurance claims adjustor/investigator.

                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence to outside insurance coverage counsel regarding his legal advice
                                                                                                                                                           Mark Beaman [mbeaman@germer‐austin.com];Sheridan                                                                                                                                                                                                                          regarding responding to Homeland's outside counsel's communications when that
      AONCPLSONIC‐0005197   AONCPLSONIC‐0005197 ‐ AONCPLSONIC‐0005202   7/26/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   A. Foster [sfoster@sonichealthcareusa.com]             Karen Pruett ‐ CPL [kpruett@cpllabs.com]               00000000DC08669E4FFB0F4393710DD205BEEF77045F2000.MSG              RE: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL   Attorney/Client   outside counsel was acting as an insurance claims adjustor/investigator.

                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence from outside insurance coverage counsel regarding his legal advice
                                                                                                                                                           Jakob Onken [jakob.onken@aon.com];Sheridan A. Foster                                                                                                                                                                                                                      regarding responding to Homeland's outside counsel's communications when
      AONCPLSONIC‐0005203   AONCPLSONIC‐0005203 ‐ AONCPLSONIC‐0005208   7/26/2018 Mark Beaman          Mark Beaman [mbeaman@germer‐austin.com]             [sfoster@sonichealthcareusa.com]                       Karen Pruett ‐ CPL [kpruett@cpllabs.com]               000000001A26EA0ADAC5884082475D43A0135D4D04272000.MSG RE: Instruction for Release of Slide [PLS‐worksite.FID158999] [ EMAIL                Attorney/Client   Homeland's outside counsel was acting as an insurance claims adjustor/investigator.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged correspondence including and involving outside counsel, and regarding legal
YES   AONCPLSONIC‐0005209   AONCPLSONIC‐0005209 ‐ AONCPLSONIC‐0005211    8/1/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   Sheridan A. Foster [sfoster@sonichealthcareusa.com]    Mark Beaman [mbeaman@germer‐austin.com]            000000009E03231BE12D5A40A16362883399A8B764172000.MSG                  RE: PL Insurance Matters CONFIDENTIAL: ATTORNEY‐CLIENT PEMAIL           Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                  gordon.young@sonichealthcare.com.au;insurance@soni                                                                                                                                                                 Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0005209   AONCPLSONIC‐0005249 ‐ AONCPLSONIC‐0005250   3/16/2016 Lisa Clarke          Lisa Clarke [lisa.clarke@medlabpathology.ie]        Kathryn Shearman [kathryn.shearman@aon.com]            chealthcare.com                                    MedLab Pathology ‐ Incident Report Update                             MedLab Pathology ‐ Incident Report Update                     EMAIL     Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0005209   AONCPLSONIC‐0005251 ‐ AONCPLSONIC‐0005251   3/16/2016 Lisa Clarke                                                                                                                                                                            Cancer Audit by patient ‐ Aon 16 March 2016.xlsx                                                                                EXCEL     Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0005209   AONCPLSONIC‐0005252 ‐ AONCPLSONIC‐0005254   3/22/2016 Kathryn Shearman Kathryn Shearman [kathryn.shearman@aon.com]             AUNG, Jamilar [Jamilar.Aung@suncorp.com.au]                                                                   Sonic ‐ Dublin‐ MedLab Pathology ‐ Incident Report Update (cancer aSonic ‐ Dublin‐ MedLab Pathology ‐ Incident Report Update (caEMAIL     Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0005209   AONCPLSONIC‐0005255 ‐ AONCPLSONIC‐0005255   3/22/2016 Lisa Clarke                                                                                                                                                                            Cancer Audit by patient ‐ Aon 22 March 2016.xlsx                                                                                EXCEL     Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0005209   AONCPLSONIC‐0005256 ‐ AONCPLSONIC‐0005256   3/16/2016 Lisa Clarke          Lisa Clarke [lisa.clarke@medlabpathology.ie]        Kathryn Shearman [kathryn.shearman@aon.com]         gordon.young@sonichealthcare.com.au                       Follow Up                                                         Follow Up                                                     EMAIL     Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                           Mark Beaman [mbeaman@germer‐austin.com];Kelli Smith                                                                                                                                                                                                                       Correspondence with insurance coverage counsel regarding letter from Homeland's
      AONCPLSONIC‐0005257   AONCPLSONIC‐0005257 ‐ AONCPLSONIC‐0005258   8/13/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   (KSmith@germer.com) [KSmith@germer.com]             Jakob Onken [jakob.onken@aon.com]                         00000000823056EF5D3D464593A22F2EBC07D03D84872000.MSG              FW: Gavigan v. Health Services                                EMAIL     Attorney/Client   attorneys who were acting as claims adjusters/investigators.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005283   AONCPLSONIC‐0005283 ‐ AONCPLSONIC‐0005283   8/14/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   Kelli Smith [KSmith@germer.com]                        Mark Beaman [mbeaman@germer‐austin.com]                000000001A26EA0ADAC5884082475D43A0135D4DC4AA2000.MSG RE: Gavigan v. CPL                                                         EMAIL     Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged correspondence including and involving outside counsel, and regarding legal
YES   AONCPLSONIC‐0005297   AONCPLSONIC‐0005297 ‐ AONCPLSONIC‐0005298   8/14/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   Kelli Smith [KSmith@germer.com]                        Mark Beaman [mbeaman@germer‐austin.com]                0000000036C54A489D109242BC9382779EB9EE1E84222100.MSG              RE: Gavigan v. CPL                                            EMAIL     Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                           Karen Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                                                      Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005297   AONCPLSONIC‐0005299 ‐ AONCPLSONIC‐0005301   6/20/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [jakob.onken@aon.com]                                  Mark Beaman [mbeaman@germer‐austin.com]                FW_ M30378.9_ Charlotte Patricia Gavigan CONFIDENTIAL_ ATTORNFW: M30378.9: Charlotte Patricia Gavigan CONFIDENTIAL: ATTEMAIL              Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                  Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
                                                                                                                                                                                                                  [mbeaman@germer‐austin.com];Kelli Smith
                                                                                                                                                                                                                  (KSmith@germer.com) [KSmith@germer.com];Gail
                                                                                                                                                                                                                  Johnson (gjohnson@germer‐austin.com)                                                                                                                                                                               Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005306   AONCPLSONIC‐0005306 ‐ AONCPLSONIC‐0005307   8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [gjohnson@germer‐austin.com]                         0000000036C54A489D109242BC9382779EB9EE1E84232100.MSG                FW: Urgent ‐ Direction for release of cytology slide: ME [BLM‐LEMAIL    Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence regarding and forwarding on other correspondence involving and
      AONCPLSONIC‐0005323   AONCPLSONIC‐0005323 ‐ AONCPLSONIC‐0005325   8/21/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                             00000000823056EF5D3D464593A22F2EBC07D03DE4892000.MSG              RE: PL Insurance Matters CONFIDENTIAL: ATTORNEY‐CLIENT PEMAIL           Attorney/Client   including insurance coverage counsel (Mark Beaman).
                                                                                                                                                                                                                                                                                                                                                                                                                                     Correspondence regarding and forwarding on other correspondence involving and
      AONCPLSONIC‐0005326   AONCPLSONIC‐0005326 ‐ AONCPLSONIC‐0005328   8/21/2018 Jakob Onken          Jakob Onken [jakob.onken@aon.com]                   Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                           00000000823056EF5D3D464593A22F2EBC07D03DA4972000.MSG RE: PL Insurance Matters CONFIDENTIAL: ATTORNEY‐CLIENT PEMAIL                        Attorney/Client   including insurance coverage counsel (Mark Beaman).

                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Kelli
                                                                                                                                                           Gordon Young (Gordon.Young@sonichealthcare.com)        Smith (KSmith@germer.com)
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Amanda Mudaliar     [KSmith@germer.com];Karen Pruett ‐ CPL
                                                                                                                                                           (amanda.mudaliar@riskadvisoryservices.com.au)          [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                  Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005358   AONCPLSONIC‐0005358 ‐ AONCPLSONIC‐0005358    9/5/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [amanda.mudaliar@riskadvisoryservices.com.au]          [jakob.onken@aon.com]                                  000000001A26EA0ADAC5884082475D43A0135D4DE43A2100.MSG 2017 ‐ 2018 OneBeacon Policy                                               EMAIL     Attorney/Client   advice and work related to insurance coverage issues.


                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Karen
                                                                                                                                                           Gordon Young (Gordon.Young@sonichealthcare.com)        Pruett ‐ CPL [kpruett@cpllabs.com];Kelli Smith
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Amanda Mudaliar     (KSmith@germer.com) [KSmith@germer.com];Karen
                                                                                                                                                           (amanda.mudaliar@riskadvisoryservices.com.au)          Pruett ‐ CPL [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                     Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005427   AONCPLSONIC‐0005427 ‐ AONCPLSONIC‐0005427    9/5/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [amanda.mudaliar@riskadvisoryservices.com.au]          [jakob.onken@aon.com]                                  000000001A26EA0ADAC5884082475D43A0135D4D843A2100.MSG 2015‐2016 OneBeacon Policy                                                 EMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Karen
                                                                                                                                                                                                                  Pruett ‐ CPL [kpruett@cpllabs.com];Kelli Smith                                                                                                                                                                     Privileged correspondence including and involving outside counsel, and regarding legal
YES   AONCPLSONIC‐0005488   AONCPLSONIC‐0005488 ‐ AONCPLSONIC‐0005488    9/5/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      (KSmith@germer.com) [KSmith@germer.com]                00000000F6482EE29DCBF44FA0366F4CA35DA5AB447C2000.MSG              Irish Pap Program Insurance Update CONFIDENTIAL: ATTORNEEMAIL           Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Internal tracking document created at the direction of counsel regarding the underlying
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005489 ‐ AONCPLSONIC‐0005489    9/4/2018 Sheridan A. Foster                                                                                                                                                                     Recap Irish Matters 31 August.xlsx                                                                                              EXCEL     Attorney/Client   Irish CervicalCheck Claims.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005494 ‐ AONCPLSONIC‐0005497    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                           FW Claim no E003612488 ‐ Sonic & Blanka Trnkova .msg              FW: Claim no: E003612488 ‐ Sonic & Blanka Trnkova             EMAIL     Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005508 ‐ AONCPLSONIC‐0005511    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                           FW Claim no E004434758 ‐ Sonic V Lorna Doherty .msg               FW: Claim no: E004434758 ‐ Sonic V Lorna Doherty              EMAIL     Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005523 ‐ AONCPLSONIC‐0005526    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                           FW Claim no E004451346 ‐ Sonic & Antoinette Whelan Wall.msg       FW: Claim no: E004451346 ‐ Sonic & Antoinette Whelan Wall EMAIL         Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005531 ‐ AONCPLSONIC‐0005534    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                           FW Claim no E004453674 ‐ Sonic and Catriona Sinnott.msg           FW: Claim no: E004453674 ‐ Sonic and Catriona Sinnott         EMAIL     Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                  Mark Beaman (mbeaman@germer‐austin.com)
                                                                                                                                                                                                                  [mbeaman@germer‐austin.com];Chris Wilks                                                                                                                                                                            Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005541 ‐ AONCPLSONIC‐0005542    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]    [cdwilks@bigpond.com]                                  FW O'Brien vs Sonic Entities ‐ Vero wording and Schedule .msg     FW: O'Brien vs Sonic Entities ‐ Vero wording and Schedule     EMAIL     Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                  Mark Beaman (mbeaman@germer‐austin.com)
                                                                                                                                                                                                                  [mbeaman@germer‐austin.com];Chris Wilks                                                                                                                                                                            Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005575 ‐ AONCPLSONIC‐0005578    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]    [cdwilks@bigpond.com]                                  FW Sonic MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 1469549FW: Sonic/ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 14EMAIL        Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                  Kathryn Shearman [kathryn.shearman@aon.com];LYON,                                                                                                                                                                  Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005579 ‐ AONCPLSONIC‐0005584    5/3/2016 Ronan O'Neill        Ronan O'Neill [roneill@EFC.ie]                      Claims Vero [claims@vero.com.au]                       Ros [Ros_LYON@vero.com.au]                        RE_ Sonic_ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 1469549RE: Sonic/ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 14EMAIL           Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                  Mark Beaman (mbeaman@germer‐austin.com)
                                                                                                                                                                                                                  [mbeaman@germer‐austin.com];Chris Wilks                                                                                                                                                                            Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005585 ‐ AONCPLSONIC‐0005586    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     Sheridan A. Foster [sfoster@sonichealthcareusa.com]    [cdwilks@bigpond.com]                             FW Sonic Phelan ‐ Vero Confirmation.msg                           FW: Sonic/Phelan ‐ Vero Confirmation                         EMAIL           Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005587 ‐ AONCPLSONIC‐0005591   4/10/2018 Matthew Conn         Matthew Conn [matthew.conn@aon.com]                 Gordon Young [Gordon.Young@sonichealthcare.com]                                                               Vero Reference_ E004020810 _ Policy No._ LPP104044180 _ Insured Vero Reference: E004020810 : Policy No.: LPP104044180 | Ins EMAIL         Attorney/Client   and/or cooperation clause.
                                                                                                                                                           Sheridan A. Foster                                                                                                                                                                                                                                                        Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Chris Wilks                                                                                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005592 ‐ AONCPLSONIC‐0005593    9/3/2018 Gordon Young         Gordon Young [Gordon.Young@sonichealthcare.com]     [cdwilks@bigpond.com]                                                                                         FW URGENT re Vero Communications.msg                              FW: URGENT re Vero Communications                             EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                     Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005488   AONCPLSONIC‐0005594 ‐ AONCPLSONIC‐0005595    9/4/2018                                                                                                                                                                                        Vero to Aon in follow up to meeting of 20 July.pdf                                                                              PDF       Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                  Kelli Smith [KSmith@germer.com];Chris Wilks
                                                                                                                                                           Gordon Young                                           [cdwilks@bigpond.com];Karen Pruett ‐ CPL                                                                                                                                                                           Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Mark Beaman         [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005596   AONCPLSONIC‐0005596 ‐ AONCPLSONIC‐0005598    9/6/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                            [jakob.onken@aon.com]                                  00000000823056EF5D3D464593A22F2EBC07D03D24EF2000.MSG              RE: Shepherd Mullins Request for Info ‐ CONFIDENTIAL: ATTO EMAIL        Attorney/Client   professional legal advice.
                                                                                                Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 8 of 12
                                                                                                                                                                                                                                                                                                                                                                                                              PRIVILEGE AND REDACTION LOG


                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Gordon Young
                                                                                                                                                           (Gordon.Young@sonichealthcare.com)
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Amanda Mudaliar    Mark Beaman [mbeaman@germer‐austin.com];Karen
                                                                                                                                                           (amanda.mudaliar@riskadvisoryservices.com.au)         Pruett ‐ CPL [kpruett@cpllabs.com];Kelli Smith                                                                                                                                                                 Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005599   AONCPLSONIC‐0005599 ‐ AONCPLSONIC‐0005600    9/6/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [amanda.mudaliar@riskadvisoryservices.com.au]         (KSmith@germer.com) [KSmith@germer.com]               00000000DC08669E4FFB0F4393710DD205BEEF7704AD2000.MSG             RE: 2015‐2016 OneBeacon Policy                              EMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                           Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Gordon Young
                                                                                                                                                           (Gordon.Young@sonichealthcare.com)                    Mark Beaman [mbeaman@germer‐austin.com];Kelli
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Amanda Mudaliar    Smith (KSmith@germer.com)
                                                                                                                                                           (amanda.mudaliar@riskadvisoryservices.com.au)         [KSmith@germer.com];Karen Pruett ‐ CPL                                                                                                                                                                         Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005627   AONCPLSONIC‐0005627 ‐ AONCPLSONIC‐0005628    9/6/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [amanda.mudaliar@riskadvisoryservices.com.au]         [kpruett@cpllabs.com]                                 00000000823056EF5D3D464593A22F2EBC07D03D04EF2000.MSG             RE: 2017 ‐ 2018 OneBeacon Policy                            EMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                 Mark Beaman [mbeaman@germer‐austin.com];Karen
                                                                                                                                                                                                                 Pruett ‐ CPL [kpruett@cpllabs.com];Kelli Smith                                                                                                                                                                 Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005642   AONCPLSONIC‐0005642 ‐ AONCPLSONIC‐0005643    9/6/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   (KSmith@germer.com) [KSmith@germer.com]               00000000DC08669E4FFB0F4393710DD205BEEF7724AD2000.MSG             RE: Irish Pap Program Insurance Update CONFIDENTIAL: ATTO EMAIL       Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005644   AONCPLSONIC‐0005644 ‐ AONCPLSONIC‐0005645    9/6/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                           000000001A26EA0ADAC5884082475D43A0135D4D043B2100.MSG RE: 2017 ‐ 2018 OneBeacon Policy                                        EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005646   AONCPLSONIC‐0005646 ‐ AONCPLSONIC‐0005647    9/6/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                         000000001A26EA0ADAC5884082475D43A0135D4D243B2100.MSG RE: 2017 ‐ 2018 OneBeacon Policy                                        EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005648   AONCPLSONIC‐0005648 ‐ AONCPLSONIC‐0005649    9/6/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                           0000000036C54A489D109242BC9382779EB9EE1EA4C42000.MSG             RE: 2017 ‐ 2018 OneBeacon Policy                            EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                                                                                 Kelli Smith [KSmith@germer.com];Chris Wilks
                                                                                                                                                           Sheridan A. Foster                                    [cdwilks@bigpond.com];Karen Pruett ‐ CPL                                                                                                                                                                       Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman          [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005655   AONCPLSONIC‐0005655 ‐ AONCPLSONIC‐0005658    9/7/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       [mbeaman@germer‐austin.com]                           [jakob.onken@aon.com]                                 0000000036C54A489D109242BC9382779EB9EE1E84C52000.MSG             RE: Shepherd Mullins Request for Info ‐ CONFIDENTIAL: ATTO EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0005659   AONCPLSONIC‐0005659 ‐ AONCPLSONIC‐0005659    9/7/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                           00000000823056EF5D3D464593A22F2EBC07D03D44EF2000.MSG             FW: Gavigan v. CPL, et al; Homeland Ins. Claim No. 0AB220536EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005659   AONCPLSONIC‐0005666 ‐ AONCPLSONIC‐0005667    9/6/2018                                                                                                                                                                                      Vero to Aon in follow up to meeting of 20 July.pdf                                                                           PDF       Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005659   AONCPLSONIC‐0005668 ‐ AONCPLSONIC‐0005669    9/6/2018 Kelli Smith                                                                                                                                                                          vero denial.pdf                                                                                                              PDF       Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                 Kelli Smith [KSmith@germer.com];Chris Wilks
                                                                                                                                                           Gordon Young                                          [cdwilks@bigpond.com];Karen Pruett ‐ CPL                                                                                                                                                                       Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Mark Beaman        [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005670   AONCPLSONIC‐0005670 ‐ AONCPLSONIC‐0005673    9/7/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                           [jakob.onken@aon.com]                                 00000000F6482EE29DCBF44FA0366F4CA35DA5AB847D2000.MSG RE: Shepherd Mullins Request for Info ‐ CONFIDENTIAL: ATTO EMAIL                  Attorney/Client   professional legal advice.
                                                                                                                                                                                                                 Kelli Smith [KSmith@germer.com];Chris Wilks
                                                                                                                                                           Gordon Young                                          [cdwilks@bigpond.com];Karen Pruett ‐ CPL                                                                                                                                                                       Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [Gordon.Young@sonichealthcare.com];Mark Beaman        [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0005685   AONCPLSONIC‐0005685 ‐ AONCPLSONIC‐0005689    9/7/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [mbeaman@germer‐austin.com]                           [jakob.onken@aon.com]                                 000000001A26EA0ADAC5884082475D43A0135D4DE43B2100.MSG RE: Shepherd Mullins Request for Info ‐ CONFIDENTIAL: ATTO EMAIL                  Attorney/Client   professional legal advice.
                                                                                                                                                                                                                 Mark Beaman (mbeaman@germer‐austin.com)
                                                                                                                                                                                                                 [mbeaman@germer‐austin.com];Chris Wilks                                                                                                                                                                        Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0005685   AONCPLSONIC‐0005690 ‐ AONCPLSONIC‐0005693    9/3/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [cdwilks@bigpond.com]                                 FW_ Sonic_ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 146954FW: Sonic/ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 14EMAIL    Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                 Kathryn Shearman [kathryn.shearman@aon.com];LYON,                                                                                                                                                              Privileged and confidential communication protected by the common interest doctrine
      AONCPLSONIC‐0005685   AONCPLSONIC‐0005694 ‐ AONCPLSONIC‐0005699    5/3/2016 Ronan O'Neill      Ronan O'Neill [roneill@EFC.ie]                        Claims Vero [claims@vero.com.au]                      Ros [Ros_LYON@vero.com.au]                        RE_ Sonic_ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 1469549RE: Sonic/ MedLab ats Rachel O'Brien (BNF Susan O'Brien) ‐ 14EMAIL       Attorney/Client   and/or cooperation clause.
                                                                                                                                                                                                                 Kelli Smith [KSmith@germer.com];Chris Wilks
                                                                                                                                                           Sheridan A. Foster                                    [cdwilks@bigpond.com];Karen Pruett ‐ CPL                                                                                                                                                                       Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman          [kpruett@cpllabs.com];Jakob Onken                                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0005700   AONCPLSONIC‐0005700 ‐ AONCPLSONIC‐0005703    9/7/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       [mbeaman@germer‐austin.com]                           [jakob.onken@aon.com]                             000000001A26EA0ADAC5884082475D43A0135D4D443C2100.MSG RE: Shepherd Mullins Request for Info ‐ CONFIDENTIAL: ATTO EMAIL                      Attorney/Client   professional legal advice.

                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel or in relation to discussions with outside counsel made for the purpose
      AONCPLSONIC‐0005705   AONCPLSONIC‐0005705 ‐ AONCPLSONIC‐0005705    9/7/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                           0000000036C54A489D109242BC9382779EB9EE1EE4C52000.MSG             One Beacon Policies                                         EMAIL     Attorney/Client   of, or in furtherance to the rendering of, professional legal advice.

                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel or in relation to discussions with outside counsel made for the purpose
      AONCPLSONIC‐0005761   AONCPLSONIC‐0005761 ‐ AONCPLSONIC‐0005762   9/10/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]                                                         0000000036C54A489D109242BC9382779EB9EE1E24C62000.MSG             RE: One Beacon Policies                                     EMAIL     Attorney/Client   of, or in furtherance to the rendering of, professional legal advice.
                                                                                                                                                           Matthew Conn [matthew.conn@aon.com];Mark Ronan
                                                                                                                                                           [mark.ronan@aon.com];Kenneth Corcoran
                                                                                                                                                           [kenneth.corcoran@aon.com];Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Beaman
                                                                                                                                                           [mbeaman@germer‐austin.com];Jakob Onken
                                                                                                                                                           [jakob.onken@aon.com];Abby Gergits
                                                                                                                                                           [abby.gergits@aon.com];Kathryn Meyers
                                                                                                                                                           [kathryn.meyers@aon.com];gordon.young@riskadvisoryse Brian Madden
                                                                                                                                                           rvices.com.au;amanda.mudaliar@riskadvisoryservices.co [Brian.Madden@medlabpathology.ie];Chris Wilks
      AONCPLSONIC‐0006201   AONCPLSONIC‐0006201 ‐ AONCPLSONIC‐0006202   9/11/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       m.au;peter.berardinucci@aon.com                       [cdwilks@bigpond.com]                                 00000000DC08669E4FFB0F4393710DD205BEEF77C4A42000.MSG             RE: Sonic/Aon conference call ‐ Thursday, 13 September 2018 EMAIL     Attorney/Client   Privileged strategic correspondence including and involving outside counsel.

                                                                                                                                                           mbeaman@germer‐
                                                                                                                                                           austin.com;jakob.onken@aon.com;abby.gergits@aon.com
                                                                                                                                                           ;kathryn.meyers@aon.com;Sheridan A. Foster
                                                                                                                                                           [sfoster@sonichealthcareusa.com];Mark Ronan
                                                                                                                                                           [mark.ronan@aon.com] [mark.ronan@aon.com];Matthew
                                                                                                                                                           Conn [matthew.conn@aon.com];Kenneth Corcoran        Chris Wilks [cdwilks@bigpond.com];Paul Alexander
      AONCPLSONIC‐0006203   AONCPLSONIC‐0006203 ‐ AONCPLSONIC‐0006204   9/13/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       [Kenneth.Corcoran@aon.com.au]                       [pauljalex@bigpond.com]                                 00000000DC08669E4FFB0F4393710DD205BEEF77049C2000.MSG             Conference Call                                             EMAIL     Attorney/Client   Privileged strategic correspondence including and involving outside counsel.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006205   AONCPLSONIC‐0006205 ‐ AONCPLSONIC‐0006206   9/13/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                           00000000DC08669E4FFB0F4393710DD205BEEF77C49C2000.MSG             RE: One Beacon Policies                                     EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                           David Lewis (david.lewis1@aon.com)                                                                                                                                                                                                                                   Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006207   AONCPLSONIC‐0006207 ‐ AONCPLSONIC‐0006208   9/13/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [david.lewis1@aon.com]                                Jakob Onken [jakob.onken@aon.com]                     000000001A26EA0ADAC5884082475D43A0135D4D04402100.MSG FW: One Beacon Policies                                                 EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006209   AONCPLSONIC‐0006209 ‐ AONCPLSONIC‐0006211   9/13/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   David Lewis [david.lewis1@aon.com]                    00000000DC08669E4FFB0F4393710DD205BEEF77A49C2000.MSG             Re: One Beacon Policies                                     EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006212   AONCPLSONIC‐0006212 ‐ AONCPLSONIC‐0006214   9/13/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     David Lewis [david.lewis1@aon.com]                    000000001A26EA0ADAC5884082475D43A0135D4D24402100.MSG RE: One Beacon Policies                                                 EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006215   AONCPLSONIC‐0006215 ‐ AONCPLSONIC‐0006218   9/13/2018 David Lewis        David Lewis [david.lewis1@aon.com]                    Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     00000000B8511605E1392947B3E8651A569D64A404AE2000.MSG             RE: One Beacon Policies                                     EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006278   AONCPLSONIC‐0006278 ‐ AONCPLSONIC‐0006281   9/13/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   David Lewis [david.lewis1@aon.com]                    Jakob Onken [jakob.onken@aon.com]                     00000000C59E511A9877154FAD6343EC2F9C1192841C2100.MSG             RE: One Beacon Policies                                     EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence referring to and regarding call with outside counsel
      AONCPLSONIC‐0006282   AONCPLSONIC‐0006282 ‐ AONCPLSONIC‐0006285   9/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   David Lewis [david.lewis1@aon.com]                    00000000379086630E61B144B9F0D54A926B722264402000.MSG             RE: One Beacon Policies                                     EMAIL     Attorney/Client   regarding strategic issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0008937   AONCPLSONIC‐0008937 ‐ AONCPLSONIC‐0008941   9/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   David Lewis [david.lewis1@aon.com]                    00000000B8511605E1392947B3E8651A569D64A404FF2000.MSG             RE: One Beacon Policies                                     EMAIL     Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel or at the direction of counsel made for the purpose of, or in
YES   AONCPLSONIC‐0009262   AONCPLSONIC‐0009262 ‐ AONCPLSONIC‐0009266   9/17/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   David Lewis [david.lewis1@aon.com]                    00000000DC08669E4FFB0F4393710DD205BEEF77C49D2000.MSG             RE: One Beacon Policies ‐ 1 of 3                            EMAIL     Attorney/Client   furtherance to the rendering of, professional legal advice.

                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and irrelevant balance sheet information including information regarding
      AONCPLSONIC‐0009262   AONCPLSONIC‐0009275 ‐ AONCPLSONIC‐0009276   4/25/2013 kime                                                                                                                                                                                 10.Unaudited Internal Financial Statements CLH & PPPL.pdf                                                                    PDF       Attorney/Client   revenue, expenses, and profits. No connection to Irish CervicalCheck Program or Claims.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0009597   AONCPLSONIC‐0009597 ‐ AONCPLSONIC‐0009599   9/24/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Mark Beaman [mbeaman@germer‐austin.com]               00000000C59E511A9877154FAD6343EC2F9C119244CB2000.MSG             FW: Correspondence with One Beacon                          EMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                 Mark Beaman [mbeaman@germer‐austin.com];Martha                                                                                                                                                                 Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0009600   AONCPLSONIC‐0009600 ‐ AONCPLSONIC‐0009602   9/24/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jacobs [martha.jacobs@aon.com]                        00000000C59E511A9877154FAD6343EC2F9C1192641F2100.MSG             RE: Correspondence with One Beacon                          EMAIL     Attorney/Client   advice and work related to insurance coverage issues.

                                                                                                                                                                                                                 Mark Beaman [mbeaman@germer‐austin.com];Martha                                                                                                                                                                 Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0009603   AONCPLSONIC‐0009603 ‐ AONCPLSONIC‐0009605   9/24/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Jacobs [martha.jacobs@aon.com]                        00000000B8511605E1392947B3E8651A569D64A444032100.MSG             RE: Correspondence with One Beacon                          EMAIL     Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Email forwarding on email from outside counsel regarding communications with
YES   AONCPLSONIC‐0009623   AONCPLSONIC‐0009623 ‐ AONCPLSONIC‐0009623   9/25/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gordon Young [Gordon.Young@sonichealthcare.com]       Matthew Conn [matthew.conn@aon.com]                   00000000C59E511A9877154FAD6343EC2F9C1192E4D32000.MSG             FW: CPL ‐ Germer communications with carriers               EMAIL     Attorney/Client   Sheppard Mullin.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009623   AONCPLSONIC‐0009704 ‐ AONCPLSONIC‐0009706   9/13/2018 Pam Ross           Pam Ross [pross@germer‐austin.com]                    Gail Johnson [gjohnson@germer‐austin.com]                                                                   FW_ Sonic Healthcare and CPL tender of claims to Homeland        FW: Sonic Healthcare and CPL tender of claims to Homeland EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                Correspondence from underlying defense counsel regarding legal advice and strategy
      AONCPLSONIC‐0009623   AONCPLSONIC‐0009784 ‐ AONCPLSONIC‐0009784   8/21/2018                                                                                                                                                                                      July 18, 2018 email.pdf                                                                                                      PDF       Attorney/Client   related to Moloney Claim.
                                                                                                                                                                                                                                                                                                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009623   AONCPLSONIC‐0009785 ‐ AONCPLSONIC‐0009785   8/21/2018                                                                                                                                                                                      July 20, 2018 email.pdf                                                                                                      PDF       Attorney/Client   professional legal advice.

                                                                                                                                                                                                                 Gail Johnson (gjohnson@germer‐austin.com)
                                                                                                                                                                                                                 [gjohnson@germer‐austin.com];Kelli Smith
                                                                                                                                                                                                                 (KSmith@germer.com) [KSmith@germer.com];Mark                                                                                                                                                                   Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0009790   AONCPLSONIC‐0009790 ‐ AONCPLSONIC‐0009791   9/25/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Beaman [mbeaman@germer‐austin.com]                    00000000B8511605E1392947B3E8651A569D64A444042100.MSG             FW: CPL Homeland application and bulk tender to Vero CONF EMAIL       Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0009792   AONCPLSONIC‐0009792 ‐ AONCPLSONIC‐0009795   9/26/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Mark Beaman [mbeaman@germer‐austin.com]               00000000C59E511A9877154FAD6343EC2F9C1192C4D52000.MSG             FW: Gavigan v. Health Service Executive, et al. CONFIDENTIAL EMAIL    Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                                                                                                                                                                                                                                                                                                                                                Privileged correspondence including and involving outside counsel, and regarding legal
      AONCPLSONIC‐0009796   AONCPLSONIC‐0009796 ‐ AONCPLSONIC‐0009800   9/27/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Mark Beaman [mbeaman@germer‐austin.com]               00000000B8511605E1392947B3E8651A569D64A4E4042100.MSG             RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL   Attorney/Client   advice and work related to insurance coverage issues.
                                                                                                 Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 9 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                PRIVILEGE AND REDACTION LOG


                                                                                                                                                                                                                  Gail Johnson (gjohnson@germer‐austin.com)
                                                                                                                                                                                                                  [gjohnson@germer‐austin.com];Kelli Smith                                                                                                                                                                        Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  (KSmith@germer.com) [KSmith@germer.com];Mark                                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009801   AONCPLSONIC‐0009801 ‐ AONCPLSONIC‐0009802    9/27/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Beaman [mbeaman@germer‐austin.com]                   00000000B8511605E1392947B3E8651A569D64A4C4042100.MSG              RE: CPL Homeland application and bulk tender to Vero CONFI EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0009803   AONCPLSONIC‐0009803 ‐ AONCPLSONIC‐0009807    9/27/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Mark Beaman [mbeaman@germer‐austin.com]              00000000B8511605E1392947B3E8651A569D64A424052100.MSG              RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.

                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Chris                                                                                                                                                                   Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  Wilks [cdwilks@bigpond.com];Stephen Shumpert                                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009803   AONCPLSONIC‐0009808 ‐ AONCPLSONIC‐0009812    9/26/2018 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       Sheridan A. Foster [sfoster@sonichealthcareusa.com]   [sshumpert@sonichealthcareusa.com]                   RE_ Gavigan v. Health Service Executive, et al. CONFIDENTIAL_ ATTORE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0009813   AONCPLSONIC‐0009813 ‐ AONCPLSONIC‐0009818    9/27/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Mark Beaman [mbeaman@germer‐austin.com]              00000000DC08669E4FFB0F4393710DD205BEEF77C46C2000.MSG              RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.
      AONCPLSONIC‐0009813   AONCPLSONIC‐0009836 ‐ AONCPLSONIC‐0009836    6/10/2013 Administrator                                                                                                                                                                       PL Program Term Comparison 2013.xls                                                                                             EXCEL    Business Info     Redactions for confidential and Irrelevant Business Information
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009861   AONCPLSONIC‐0009861 ‐ AONCPLSONIC‐0009866    9/27/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Mark Beaman [mbeaman@germer‐austin.com]              00000000C59E511A9877154FAD6343EC2F9C1192040F2100.MSG              RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009867   AONCPLSONIC‐0009867 ‐ AONCPLSONIC‐0009873    9/27/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Mark Beaman [mbeaman@germer‐austin.com]              00000000379086630E61B144B9F0D54A926B722264102000.MSG              RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009874   AONCPLSONIC‐0009874 ‐ AONCPLSONIC‐0009880    9/27/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                          00000000DC08669E4FFB0F4393710DD205BEEF77446E2000.MSG              RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009881   AONCPLSONIC‐0009881 ‐ AONCPLSONIC‐0009885    9/28/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Mark Beaman [mbeaman@germer‐austin.com]              00000000DC08669E4FFB0F4393710DD205BEEF77246F2000.MSG              RE: Gavigan v. Health Service Executive, et al. CONFIDENTIAL: EMAIL    Attorney/Client   professional legal advice.

                                                                                                                                                                                                                  Gail Johnson (gjohnson@germer‐austin.com)
                                                                                                                                                                                                                  [gjohnson@germer‐austin.com];Kelli Smith                                                                                                                                                                        Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  (KSmith@germer.com) [KSmith@germer.com];Mark                                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009918   AONCPLSONIC‐0009918 ‐ AONCPLSONIC‐0009919    10/3/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Beaman [mbeaman@germer‐austin.com]                   00000000C59E511A9877154FAD6343EC2F9C1192E4D92000.MSG              RE: CPL Homeland application and bulk tender to Vero CONFI EMAIL       Attorney/Client   professional legal advice.

                                                                                                                                                                                                                  Gail Johnson (gjohnson@germer‐austin.com)
                                                                                                                                                                                                                  [gjohnson@germer‐austin.com];Kelli Smith                                                                                                                                                                        Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  (KSmith@germer.com) [KSmith@germer.com];Mark                                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0009920   AONCPLSONIC‐0009920 ‐ AONCPLSONIC‐0009921    10/8/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Beaman [mbeaman@germer‐austin.com]                   000000009E03231BE12D5A40A16362883399A8B764CF2000.MSG              RE: CPL Homeland application and bulk tender to Vero CONFI EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Attachment to privileged e‐mail sent at the direction of outside counsel to facilitate
      AONCPLSONIC‐0009920   AONCPLSONIC‐0009922 ‐ AONCPLSONIC‐0009922    3/16/2016 Lisa Clarke        Lisa Clarke [lisa.clarke@medlabpathology.ie]          Kathryn Shearman [kathryn.shearman@aon.com]           gordon.young@sonichealthcare.com.au                  Follow Up                                                         Follow Up                                                   EMAIL      Both (AC & WP)    evaluation of claim.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0009920   AONCPLSONIC‐0009923 ‐ AONCPLSONIC‐0009925    3/22/2016 Kathryn Shearman Kathryn Shearman [kathryn.shearman@aon.com]             AUNG, Jamilar [Jamilar.Aung@suncorp.com.au]                                                                Sonic ‐ Dublin‐ MedLab Pathology ‐ Incident Report Update (cancer aSonic ‐ Dublin‐ MedLab Pathology ‐ Incident Report Update (caEMAIL    Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Privileged and confidential attachment to email from outside counsel made for the
      AONCPLSONIC‐0009920   AONCPLSONIC‐0009926 ‐ AONCPLSONIC‐0009926    3/22/2016 Lisa Clarke                                                                                                                                                                       Cancer Audit by patient ‐ Aon 22 March 2016.xlsx                                                                                EXCEL      Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                  gordon.young@sonichealthcare.com.au;insurance@soni                                                                                                                                                              Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0009920   AONCPLSONIC‐0009927 ‐ AONCPLSONIC‐0009928    3/16/2016 Lisa Clarke        Lisa Clarke [lisa.clarke@medlabpathology.ie]          Kathryn Shearman [kathryn.shearman@aon.com]           chealthcare.com                                    MedLab Pathology ‐ Incident Report Update                           MedLab Pathology ‐ Incident Report Update                   EMAIL      Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Privileged and confidential attachments to email from outside counsel made for the
      AONCPLSONIC‐0009920   AONCPLSONIC‐0009929 ‐ AONCPLSONIC‐0009929    3/16/2016 Lisa Clarke                                                                                                                                                                         Cancer Audit by patient ‐ Aon 16 March 2016.xlsx                                                                              EXCEL      Attorney/Client   purpose of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009930   AONCPLSONIC‐0009930 ‐ AONCPLSONIC‐0009931    10/8/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                          00000000C59E511A9877154FAD6343EC2F9C1192C4CB2000.MSG              RE: CPL Homeland application and bulk tender to Vero CONFI EMAIL       Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Martha                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009932   AONCPLSONIC‐0009932 ‐ AONCPLSONIC‐0009934   10/10/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Jacobs [martha.jacobs@aon.com]                       000000005BACBBCCAD51424BB867EE79BAA1A5FC444A2100.MSG RE: Correspondence with One Beacon                                       EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Martha                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009935   AONCPLSONIC‐0009935 ‐ AONCPLSONIC‐0009938   10/10/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jacobs [martha.jacobs@aon.com]                       000000009E03231BE12D5A40A16362883399A8B7C4572000.MSG              RE: Correspondence with One Beacon                          EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Martha                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009939   AONCPLSONIC‐0009939 ‐ AONCPLSONIC‐0009942   10/10/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                     Jacobs [martha.jacobs@aon.com]                       000000009E03231BE12D5A40A16362883399A8B744D12000.MSG              RE: Correspondence with One Beacon                          EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Martha                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009943   AONCPLSONIC‐0009943 ‐ AONCPLSONIC‐0009946   10/12/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jacobs [martha.jacobs@aon.com]                       000000009E03231BE12D5A40A16362883399A8B704C62000.MSG              RE: Correspondence with One Beacon                          EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                            'sfoster@sonichealthcareusa.com'
                                                                                                                                                            [sfoster@sonichealthcareusa.com];Mark Beaman
                                                                                                                                                            [mbeaman@germer‐austin.com];Kelli Smith                                                                                                                                                                                                                               Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                            [KSmith@germer.com];Gail Johnson [gjohnson@germer‐                                                                                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009947   AONCPLSONIC‐0009947 ‐ AONCPLSONIC‐0009947   10/19/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     austin.com]                                                                                                000000008A4DDD97ACCEBE4E961F101CBD5233E2C4922000.MSG OneBeacon Correspondence                                                 EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                            Jakob Onken [jakob.onken@aon.com];Mark Beaman
                                                                                                                                                            [mbeaman@germer‐austin.com];Kelli Smith                                                                                                                                                                                                                               Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                            [KSmith@germer.com];Gail Johnson [gjohnson@germer‐                                                                                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009948   AONCPLSONIC‐0009948 ‐ AONCPLSONIC‐0009948   10/25/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   austin.com]                                                                                                000000009E03231BE12D5A40A16362883399A8B7645B2000.MSG              RE: OneBeacon Correspondence                                EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                                                                                  Sheridan A. Foster
                                                                                                                                                                                                                  [sfoster@sonichealthcareusa.com];Mark Beaman                                                                                                                                                                    Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  [mbeaman@germer‐austin.com];Kelli Smith                                                                                                                                                                         outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0009949   AONCPLSONIC‐0009949 ‐ AONCPLSONIC‐0009951   10/31/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]             [KSmith@germer.com]                                  000000009E03231BE12D5A40A16362883399A8B724A12000.MSG              RE: OneBeacon Correspondence                                EMAIL      Attorney/Client   professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010098 ‐ AONCPLSONIC‐0010102    3/19/2010 Robert Connor      Robert Connor [rconnor@sonichealthcareusa.com]        Sheridan Foster [sfoster@sonichealthcareusa.com]                                                           FW_ NCSS Contract Ireland ‐ Insurance                             FW: NCSS Contract Ireland ‐ Insurance                       EMAIL      Attorney/Client   professional legal advice.

                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel (a) made for the purpose of, or in furtherance to the rendering of,
                                                                                                                                                                                                                                                                                                                                                                                                                                  professional legal advice and (b) containing protected work product created in the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010103 ‐ AONCPLSONIC‐0010170    3/15/2010 phillipsm                                                                                                                                                                           Draft Contract from NCSS 15 March 2010.doc                                                                                    DOCUMENT   Both (AC & WP)    anticipation of litigation and in furtherance of rendering legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving or at the
                                                                                                                                                                                                                                                                                                                                                                                                                                  direction of CPL/SHUSA outside counsel (a) made for the purpose of, or in furtherance
                                                                                                                                                                                                                                                                                                                                                                                                                                  to the rendering of, professional legal advice and (b) containing protected work
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010172 ‐ AONCPLSONIC‐0010174    3/19/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    David.Byrne@tdlpathology.com;eamadden@ireland.com     Sheridan Foster [sfoster@sonichealthcareusa.com]     FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)              FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)        EMAIL      Attorney/Client   product created in the anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel (a) made for the purpose of, or in furtherance to the rendering of,
                                                                                                                                                                                                                                                                                                                                                                                                                                  professional legal advice and (b) containing protected work product created in the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010178 ‐ AONCPLSONIC‐0010179    3/17/2010 paul                                                                                                                                                                                NCSS Insurance Clause 17 Mark Ups.docx                                                                                        DOCUMENT   Attorney/Client   anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving or at the direction
                                                                                                                                                                                                                                                                                                                                                                                                                                  of CPL/SHUSA outside counsel (a) made for the purpose of, or in furtherance to the
                                                                                                                                                                                                                                                                                                                                                                                                                                  rendering of, professional legal advice and (b) containing protected work product
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010180 ‐ AONCPLSONIC‐0010183    3/17/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    Sheridan Foster [sfoster@sonichealthcareusa.com]                                                           RE_ NCSS Contract Ireland ‐ Insurance                             RE: NCSS Contract Ireland ‐ Insurance                       EMAIL      Both (AC & WP)    created in the anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA
                                                                                                                                                            Gordon Young                                       Sheridan Foster                                                                                                                                                                                                    outside counsel (a) made for the purpose of, or in furtherance to the rendering of,
                                                                                                                                                            [Gordon.Young@sonichealthcare.com.au];eamadden@ire [sfoster@sonichealthcareusa.com];jcoman@algoodbody                                                                                                                                                                 professional legal advice and (b) containing protected work product created in the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010184 ‐ AONCPLSONIC‐0010187    3/19/2010 David Byrne        David Byrne [David.Byrne@tdlpathology.com]            land.com                                           .ie;jonathan.watts@bowewattsclargo.com             RE_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)                   RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)        EMAIL      Both (AC & WP)    anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving or at the direction
                                                                                                                                                                                                                                                                                                                                                                                                                                  of CPL/SHUSA outside counsel (a) made for the purpose of, or in furtherance to the
                                                                                                                                                                                                                                                                                                                                                                                                                                  rendering of, professional legal advice and (b) containing protected work product
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010188 ‐ AONCPLSONIC‐0010192    3/19/2010 Robert Connor      Robert Connor [rconnor@sonichealthcareusa.com]        Sheridan Foster [sfoster@sonichealthcareusa.com]                                                           FW_ NCSS Contract Ireland ‐ Insurance                             FW: NCSS Contract Ireland ‐ Insurance                       EMAIL      Both (AC & WP)    created in the anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel (a) made for the purpose of, or in furtherance to the rendering of,
                                                                                                                                                                                                                                                                                                                                                                                                                                  professional legal advice and (b) containing protected work product created in the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010193 ‐ AONCPLSONIC‐0010260    3/15/2010 phillipsm                                                                                                                                                                           Draft Contract from NCSS 15 March 2010.doc                                                                                    DOCUMENT   Both (AC & WP)    anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel (a) made for the purpose of, or in furtherance to the rendering of,
                                                                                                                                                                                                                                                                                                                                                                                                                                  professional legal advice and (b) containing protected work product created in the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010261 ‐ AONCPLSONIC‐0010267    3/19/2010 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Robert Connor [rconnor@sonichealthcareusa.com]                                                             RE_ NCSS Contract Ireland ‐ Insurance                             RE: NCSS Contract Ireland ‐ Insurance                       EMAIL      Both (AC & WP)    anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving CPL/SHUSA
                                                                                                                                                                                                                                                                                                                                                                                                                                  outside counsel (a) made for the purpose of, or in furtherance to the rendering of,
                                                                                                                                                                                                                                                                                                                                                                                                                                  professional legal advice and (b) containing protected work product created in the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010268 ‐ AONCPLSONIC‐0010270    3/19/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    David.Byrne@tdlpathology.com;eamadden@ireland.com     Sheridan Foster [sfoster@sonichealthcareusa.com]     FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)              FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)        EMAIL      Both (AC & WP)    anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication and work product involving
                                                                                                                                                                                                                                                                                                                                                                                                                                  CPL/SHUSA outside counsel and made for the purpose of, or in furtherance to the
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010274 ‐ AONCPLSONIC‐0010275    3/17/2010 paul                                                                                                                                                                                NCSS Insurance Clause 17 Mark Ups.docx                                                                                        DOCUMENT   Both (AC & WP)    rendering of, professional legal advice.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving or at the direction
                                                                                                                                                                                                                                                                                                                                                                                                                                  of CPL/SHUSA outside counsel (a) made for the purpose of, or in furtherance to the
                                                                                                                                                                                                                                                                                                                                                                                                                                  rendering of, professional legal advice and (b) containing protected work product
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010276 ‐ AONCPLSONIC‐0010279    3/19/2010 Sheridan Foster    Sheridan Foster [sfoster@sonichealthcareusa.com]      Robert Connor [rconnor@sonichealthcareusa.com]                                                             FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)              FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)        EMAIL      Both (AC & WP)    created in the anticipation of litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                  Confidential and privileged attorney‐client communication involving or at the direction
                                                                                                                                                            David Byrne                                           Sheridan Foster                                                                                                                                                                                                 of CPL/SHUSA outside counsel (a) made for the purpose of, or in furtherance to the
                                                                                                                                                            [David.Byrne@tdlpathology.com];eamadden@ireland.co    [sfoster@sonichealthcareusa.com];jcoman@algoodbody                                                                                                                                                              rendering of, professional legal advice and (b) containing protected work product
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010280 ‐ AONCPLSONIC‐0010283    3/22/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    m                                                     .ie;jonathan.watts@bowewattsclargo.com             RE_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)                RE: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)        EMAIL      Both (AC & WP)    created in the anticipation of litigation.
                                                                                                                                                                                                                  eamadden@ireland.com;Sheridan Foster                                                                                                                                                                            Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                                  [sfoster@sonichealthcareusa.com];jcoman@algoodbody                                                                                                                                                              outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0009949   AONCPLSONIC‐0010284 ‐ AONCPLSONIC‐0010285    3/22/2010 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com.au]    david.byrne@tdlpathology.com                          .ie;jonathan.watts@bowewattsclargo.com             FW_ NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)                FW: NCSS Contract Ireland ‐ Insurance (CONFIDENTIAL)        EMAIL      Attorney/Client   professional legal advice.
                                                                                            Case 1:20-cv-00783-RP Document 187-1 Filed 11/17/22 Page 10 of 12
                                                                                                                                                                                                                                                                                                                                                                                                       PRIVILEGE AND REDACTION LOG


                                                                                                                                                                                                        Gail Johnson (gjohnson@germer‐austin.com)
                                                                                                                                                                                                        [gjohnson@germer‐austin.com];Mark Beaman
                                                                                                                                                                                                        [mbeaman@germer‐austin.com];Kelli Smith
                                                                                                                                                                                                        (KSmith@germer.com) [KSmith@germer.com];Julie
                                                                                                                                                                                                        DeWeese (jdeweese@germer‐austin.com)                                                                                                                                                                             Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                        [jdeweese@germer‐austin.com];Karen Pruett ‐ CPL                                                                                                                                                                  outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0010451   AONCPLSONIC‐0010451 ‐ AONCPLSONIC‐0010452   12/17/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [kpruett@cpllabs.com]                                  000000001A26EA0ADAC5884082475D43A0135D4D440F2000.MSG FW: CPL ‐ List of cases in which Vero intends to join CPL                EMAIL     Attorney/Client   professional legal advice or in relation to litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                         Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010451   AONCPLSONIC‐0010453 ‐ AONCPLSONIC‐0010454    11/4/2018 MULLER, Jennifer                                                                                                                                                            Letter to aon.pdf                                                                                                             PDF       Attorney/Client   cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                         Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010451   AONCPLSONIC‐0010455 ‐ AONCPLSONIC‐0010455    10/2/2018                                                                                                                                                                             20181002161635289.pdf                                                                                                         PDF       Attorney/Client   cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                         Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010451   AONCPLSONIC‐0010456 ‐ AONCPLSONIC‐0010456    10/2/2018                                                                                                                                                                             20181002162753087.pdf                                                                                                         PDF       Attorney/Client   cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                         Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010451   AONCPLSONIC‐0010457 ‐ AONCPLSONIC‐0010458   10/17/2018 MULLER, Jennifer                                                                                                                                                            Letter to Sonic.pdf                                                                                                           PDF       Attorney/Client   cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                         Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010451   AONCPLSONIC‐0010459 ‐ AONCPLSONIC‐0010461   10/24/2018 MULLER, Jennifer                                                                                                                                                            Letter to Sonic.pdf                                                                                                           PDF       Attorney/Client   cooperation clause.
                                                                                                                                                                                                                                                                                                                                                                                                                         Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010451   AONCPLSONIC‐0010462 ‐ AONCPLSONIC‐0010464    10/9/2018 MULLER, Jennifer                                                                                                                                                            Letter to Sonic.pdf                                                                                                           PDF       Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010451   AONCPLSONIC‐0010465 ‐ AONCPLSONIC‐0010466   10/16/2018 MULLER, Jennifer                                                                                                                                                            Letter to Sonic.pdf                                                                                                           PDF       Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010451   AONCPLSONIC‐0010467 ‐ AONCPLSONIC‐0010468   10/10/2018 MULLER, Jennifer                                                                                                                                                            Letter to Sonic.pdf                                                                                                           PDF       Attorney/Client   cooperation clause.
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                                                                                                                                                                                                                                                                                                                                                                                                                         outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010469   AONCPLSONIC‐0010469 ‐ AONCPLSONIC‐0010469   12/18/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                                                                  00000000379086630E61B144B9F0D54A926B7222E4FA2000.MSG              FW: DOCS‐#1607973‐v1‐CPL_Gavigan_Resp_Brooks_9_19_18_EMAIL            Attorney/Client   professional legal advice.
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YES   AONCPLSONIC‐0010537   AONCPLSONIC‐0010537 ‐ AONCPLSONIC‐0010539     2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]                                                          00000000B8511605E1392947B3E8651A569D64A404102000.MSG              RE: Sonic Healthcare Investments ‐ Update ‐ Various         EMAIL     Attorney/Client   professional legal advice.

                                                                                                                                                                                                        Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010540 ‐ AONCPLSONIC‐0010542    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ Confidential_ New Letter of Claim_ Louise Swift & Michael GibbFW: Confidential: New Letter of Claim: Louise Swift & MichaelEMAIL      Attorney/Client   professional legal advice.

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                                                                                                                                                                                                        austin.com];gjohnson@germer‐austin.com;Kelli Smith                                                                                                                                                               outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010537   AONCPLSONIC‐0010548 ‐ AONCPLSONIC‐0010548    8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                [KSmith@germer.com]                                  Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Louise Swi Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Loui EMAIL   Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010549 ‐ AONCPLSONIC‐0010549    8/21/2018 jonken                                                                                                                                                                      2018 08 20 Beazley ‐ Notice of Occurrence_Swift.pdf                                                                           PDF       Attorney/Client   cooperation clause.

                                                                                                                                                                                                        Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010555 ‐ AONCPLSONIC‐0010557    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Lorna Doherty [BLM‐LAW‐DUBLIN.FID FW: New Legal Proceedings: Lorna Doherty [BLM‐LAW‐DUBLINEMAIL                Attorney/Client   professional legal advice.

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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010577 ‐ AONCPLSONIC‐0010577    8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                Berardinucci [peter.berardinucci@aon.com]          Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Lorna Doh Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ LornEMAIL       Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010578 ‐ AONCPLSONIC‐0010578    8/21/2018 jonken                                                                                                                                                                      2018 08 20 Beazley ‐ Notice of Occurrence_doherty.pdf                                                                         PDF       Attorney/Client   cooperation clause.

                                                                                                                                                                                                        Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010598 ‐ AONCPLSONIC‐0010600    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Imelda O'Keeffe [BLM‐LAW‐DUBLIN.FI FW: New Legal Proceedings: Imelda O'Keeffe [BLM‐LAW‐DUB EMAIL               Attorney/Client   professional legal advice or in relation to litigation.

                                                                                                                                                                                                        Jessica.Schappell@beazley.com;sfoster@sonichealthcar
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                                                                                                                                                                                                        austin.com;Kelli Smith [KSmith@germer.com];Peter                                                                                                                                                                 outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010537   AONCPLSONIC‐0010614 ‐ AONCPLSONIC‐0010614    8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                Berardinucci [peter.berardinucci@aon.com]            Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ O'Keeffe Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ O'KeEMAIL      Attorney/Client   professional legal advice or in relation to litigation.
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010615 ‐ AONCPLSONIC‐0010615    8/21/2018 jonken                                                                                                                                                                      2018 08 21 Beazley ‐ Notice of Occurrence_okeeffe.pdf                                                                         PDF       Attorney/Client   cooperation clause.

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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010629 ‐ AONCPLSONIC‐0010631    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Antoinette Harrington [BLM‐LAW‐DUBFW: New Legal Proceedings: Antoinette Harrington [BLM‐LAWEMAIL               Attorney/Client   professional legal advice or in relation to litigation.
                                                                                                                                                                                                        sfoster@sonichealthcareusa.com;Mark Beaman
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010651 ‐ AONCPLSONIC‐0010651    8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                ey.com                                               Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ AntoinetteNotice of Occurrence ‐ Sonic Healthcare Investments GP ‐ AntoEMAIL     Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010652 ‐ AONCPLSONIC‐0010652    8/21/2018 jonken                                                                                                                                                                      2018 08 20 Beazley ‐ Notice of Occurrence_Harrington.pdf                                                                      PDF       Attorney/Client   cooperation clause.

                                                                                                                                                                                                        Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010672 ‐ AONCPLSONIC‐0010673    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Justina Hurley [BLM‐LAW‐DUBLIN.FID1FW: New Legal Proceedings: Justina Hurley [BLM‐LAW‐DUBLINEMAIL              Attorney/Client   professional legal advice.

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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010698 ‐ AONCPLSONIC‐0010698    8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                Berardinucci [peter.berardinucci@aon.com]            Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Hurley     Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ HurlEMAIL    Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010537   AONCPLSONIC‐0010699 ‐ AONCPLSONIC‐0010699    8/21/2018 jonken                                                                                                                                                                      2018 08 21 Beazley ‐ Notice of Occurrence_Hurley.pdf                                                                          PDF       Attorney/Client   cooperation clause.
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YES   AONCPLSONIC‐0010724   AONCPLSONIC‐0010724 ‐ AONCPLSONIC‐0010726     2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]                                                          0000000036C54A489D109242BC9382779EB9EE1E84A52000.MSG              RE: Sonic Healthcare Investments ‐ Update ‐ Various         EMAIL     Attorney/Client   professional legal advice.

                                                                                                                                                                                                        Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
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      AONCPLSONIC‐0010724   AONCPLSONIC‐0010727 ‐ AONCPLSONIC‐0010729    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ Confidential_ New Letter of Claim_ Louise Swift & Michael GibbFW: Confidential: New Letter of Claim: Louise Swift & MichaelEMAIL      Attorney/Client   professional legal advice.

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                                                                                                                                                                                                        austin.com];gjohnson@germer‐austin.com;Kelli Smith                                                                                                                                                               Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010724   AONCPLSONIC‐0010735 ‐ AONCPLSONIC‐0010735    8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                [KSmith@germer.com]                                  Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Louise Swi Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Loui EMAIL   Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010724   AONCPLSONIC‐0010736 ‐ AONCPLSONIC‐0010736    8/21/2018 jonken                                                                                                                                                                      2018 08 20 Beazley ‐ Notice of Occurrence_Swift.pdf                                                                           PDF       Attorney/Client   cooperation clause.
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YES   AONCPLSONIC‐0010742   AONCPLSONIC‐0010742 ‐ AONCPLSONIC‐0010744     2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]                                                          00000000B8511605E1392947B3E8651A569D64A464112000.MSG              RE: Sonic Healthcare Investments ‐ Update ‐ Various         EMAIL     Attorney/Client   professional legal advice.

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      AONCPLSONIC‐0010742   AONCPLSONIC‐0010745 ‐ AONCPLSONIC‐0010747    8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]           [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Lorna Doherty [BLM‐LAW‐DUBLIN.FID FW: New Legal Proceedings: Lorna Doherty [BLM‐LAW‐DUBLINEMAIL                Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010742   AONCPLSONIC‐0010767 ‐ AONCPLSONIC‐0010767   8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                           Berardinucci [peter.berardinucci@aon.com]          Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Lorna Doh Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ LornEMAIL     Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010742   AONCPLSONIC‐0010768 ‐ AONCPLSONIC‐0010768   8/21/2018 jonken                                                                                                                                                                                 2018 08 20 Beazley ‐ Notice of Occurrence_doherty.pdf                                                                       PDF       Attorney/Client   cooperation clause.
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YES   AONCPLSONIC‐0010788   AONCPLSONIC‐0010788 ‐ AONCPLSONIC‐0010790    2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]                                                                     00000000379086630E61B144B9F0D54A926B722224CF2000.MSG             RE: Sonic Healthcare Investments ‐ Update ‐ Various        EMAIL     Attorney/Client   professional legal advice.

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      AONCPLSONIC‐0010788   AONCPLSONIC‐0010791 ‐ AONCPLSONIC‐0010793   8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Imelda O'Keeffe [BLM‐LAW‐DUBLIN.FI FW: New Legal Proceedings: Imelda O'Keeffe [BLM‐LAW‐DUB EMAIL             Attorney/Client   professional legal advice.

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      AONCPLSONIC‐0010788   AONCPLSONIC‐0010807 ‐ AONCPLSONIC‐0010807   8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                           Berardinucci [peter.berardinucci@aon.com]            Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ O'Keeffe Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ O'KeEMAIL    Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010788   AONCPLSONIC‐0010808 ‐ AONCPLSONIC‐0010808   8/21/2018 jonken                                                                                                                                                                                 2018 08 21 Beazley ‐ Notice of Occurrence_okeeffe.pdf                                                                       PDF       Attorney/Client   cooperation clause.
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YES   AONCPLSONIC‐0010822   AONCPLSONIC‐0010822 ‐ AONCPLSONIC‐0010824    2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]                                                                     0000000036C54A489D109242BC9382779EB9EE1EE4A52000.MSG             RE: Sonic Healthcare Investments ‐ Update ‐ Various        EMAIL     Attorney/Client   professional legal advice.

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      AONCPLSONIC‐0010822   AONCPLSONIC‐0010825 ‐ AONCPLSONIC‐0010827   8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Antoinette Harrington [BLM‐LAW‐DUBFW: New Legal Proceedings: Antoinette Harrington [BLM‐LAWEMAIL             Attorney/Client   professional legal advice.
                                                                                                                                                                                                                  sfoster@sonichealthcareusa.com;Mark Beaman
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                                                                                                                                                                                                                  com;Peter Berardinucci
                                                                                                                                                                                                                  [peter.berardinucci@aon.com];Jessica.Schappell@beazl                                                                                                                                                           Privileged communication protected by the common interest doctrine and/or
      AONCPLSONIC‐0010822   AONCPLSONIC‐0010847 ‐ AONCPLSONIC‐0010847   8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                           ey.com                                               Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ AntoinetteNotice of Occurrence ‐ Sonic Healthcare Investments GP ‐ AntoEMAIL   Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010822   AONCPLSONIC‐0010848 ‐ AONCPLSONIC‐0010848   8/21/2018 jonken                                                                                                                                                                                 2018 08 20 Beazley ‐ Notice of Occurrence_Harrington.pdf                                                                    PDF       Attorney/Client   cooperation clause.
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YES   AONCPLSONIC‐0010868   AONCPLSONIC‐0010868 ‐ AONCPLSONIC‐0010870    2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Gail Johnson [gjohnson@germer‐austin.com]                                                                     00000000B8511605E1392947B3E8651A569D64A4C4112000.MSG             RE: Sonic Healthcare Investments ‐ Update ‐ Various        EMAIL     Attorney/Client   cooperation clause.

                                                                                                                                                                                                                  Jessica.Schappell@beazley.com;sfoster@sonichealthcar
                                                                                                                                                                                                                  eusa.com;kpruett@cpllabs.com;Gordon Young
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      AONCPLSONIC‐0010868   AONCPLSONIC‐0010871 ‐ AONCPLSONIC‐0010871   8/21/2018 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     healthcareclaims@beazley.com                           Berardinucci [peter.berardinucci@aon.com]            Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ Hurley    Notice of Occurrence ‐ Sonic Healthcare Investments GP ‐ HurlEMAIL   Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010868   AONCPLSONIC‐0010872 ‐ AONCPLSONIC‐0010872   8/21/2018 jonken                                                                                                                                                                                 2018 08 21 Beazley ‐ Notice of Occurrence_Hurley.pdf                                                                        PDF       Attorney/Client   cooperation clause.

                                                                                                                                                                                                                  Karen Pruett ‐ CPL [kpruett@cpllabs.com];Mark Beaman
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                                                                                                                                                                                                                  Johnson (gjohnson@germer‐austin.com)                                                                                                                                                                           outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010868   AONCPLSONIC‐0010897 ‐ AONCPLSONIC‐0010898   8/15/2018 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [gjohnson@germer‐austin.com]                         FW_ New Legal Proceedings_ Justina Hurley [BLM‐LAW‐DUBLIN.FID1FW: New Legal Proceedings: Justina Hurley [BLM‐LAW‐DUBLINEMAIL            Attorney/Client   professional legal advice.

                                                                                                                                                                                                                  Mark Beaman [mbeaman@germer‐austin.com];Peter
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                                                                                                                                                           'sfoster@sonichealthcareusa.com'                       Johnson [gjohnson@germer‐austin.com];Kelli Smith                                                                                                                                                               outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0010923   AONCPLSONIC‐0010923 ‐ AONCPLSONIC‐0010923    2/4/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [sfoster@sonichealthcareusa.com]                       [KSmith@germer.com]                                    00000000C59E511A9877154FAD6343EC2F9C1192E4CE2000.MSG             Ireland Claims Correspondence ‐ Phelan & O'Brien           EMAIL     Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010923   AONCPLSONIC‐0010924 ‐ AONCPLSONIC‐0010925   8/20/2018                                                                                                                                                                                        2018 08 21 ‐ Vero Letter ‐ Obrien.pdf                                                                                       PDF       Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010923   AONCPLSONIC‐0010926 ‐ AONCPLSONIC‐0010930   10/1/2018                                                                                                                                                                                        2018 10 02 ‐ Vero seeking recovery from CPL ‐ phelan.pdf                                                                    PDF       Attorney/Client   cooperation clause.

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                                                                                                                                                           'sfoster@sonichealthcareusa.com'                       Johnson [gjohnson@germer‐austin.com];Kelli Smith                                                                                                                                                               outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0010931   AONCPLSONIC‐0010931 ‐ AONCPLSONIC‐0010931   2/11/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     [sfoster@sonichealthcareusa.com]                       [KSmith@germer.com]                                    00000000B8511605E1392947B3E8651A569D64A444142000.MSG             RE: Ireland Claims Correspondence ‐ Phelan & O'Brien       EMAIL     Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010931   AONCPLSONIC‐0010932 ‐ AONCPLSONIC‐0010936   10/1/2018                                                                                                                                                                                        2018 10 02 ‐ Vero seeking recovery from CPL ‐ phelan.pdf                                                                    PDF       Attorney/Client   cooperation clause.
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      AONCPLSONIC‐0010931   AONCPLSONIC‐0010937 ‐ AONCPLSONIC‐0010938   8/20/2018                                                                                                                                                                                        2018 08 21 ‐ Vero Letter ‐ Obrien.pdf                                                                                       PDF       Attorney/Client   cooperation clause.


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                                                                                                                                                                                                                  (Gordon.Young@sonichealthcare.com)                                                                                                                                                                             outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0010939   AONCPLSONIC‐0010939 ‐ AONCPLSONIC‐0010940   2/11/2019 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [Gordon.Young@sonichealthcare.com]                     000000005BACBBCCAD51424BB867EE79BAA1A5FC44E12000.MSG FW: Ireland Claims Correspondence ‐ Phelan & O'Brien                   EMAIL     Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010939   AONCPLSONIC‐0010941 ‐ AONCPLSONIC‐0010945   10/1/2018                                                                                                                                                                                        2018 10 02 ‐ Vero seeking recovery from CPL ‐ phelan.pdf                                                                    PDF       Attorney/Client   and/or cooperation clause.
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      AONCPLSONIC‐0010939   AONCPLSONIC‐0010946 ‐ AONCPLSONIC‐0010947   8/20/2018                                                                                                                                                                                        2018 08 21 ‐ Vero Letter ‐ Obrien.pdf                                                                                       PDF       Attorney/Client   and/or cooperation clause.


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                                                                                                                                                                                                                  Young (Gordon.Young@sonichealthcare.com)                                                                                                                                                                       outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010948   AONCPLSONIC‐0010948 ‐ AONCPLSONIC‐0010949   2/11/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Sheridan A. Foster [sfoster@sonichealthcareusa.com]    [Gordon.Young@sonichealthcare.com]                     00000000379086630E61B144B9F0D54A926B7222E4D12000.MSG             RE: Ireland Claims Correspondence ‐ Phelan & O'Brien       EMAIL     Attorney/Client   professional legal advice.

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                                                                                                                                                           Jakob Onken [jakob.onken@aon.com];Sheridan A. Foster   [gjohnson@germer‐austin.com];Kelli Smith                                                                                                                                                                       outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010950   AONCPLSONIC‐0010950 ‐ AONCPLSONIC‐0010952   2/11/2019 Gordon Young       Gordon Young [Gordon.Young@sonichealthcare.com]       [sfoster@sonichealthcareusa.com]                       (KSmith@germer.com) [KSmith@germer.com]                00000000B8511605E1392947B3E8651A569D64A4C45C2000.MSG             RE: Ireland Claims Correspondence ‐ Phelan & O'Brien       EMAIL     Attorney/Client   professional legal advice.

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                                                                                                                                                                                                                  austin.com];Gail Johnson (gjohnson@germer‐                                                                                                                                                                     outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0010953   AONCPLSONIC‐0010953 ‐ AONCPLSONIC‐0010955   2/14/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Mark Beaman [mbeaman@germer‐austin.com]                austin.com) [gjohnson@germer‐austin.com]               000000001A26EA0ADAC5884082475D43A0135D4DE4572100.MSG RE: CPL/Homeland ‐ Inquiry from Zurich                                 EMAIL     Attorney/Client   professional legal advice.


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      AONCPLSONIC‐0010953   AONCPLSONIC‐0010956 ‐ AONCPLSONIC‐0010957   2/11/2019 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]                      [Gordon.Young@sonichealthcare.com]                     FW_ Ireland Claims Correspondence ‐ Phelan & O'Brien             FW: Ireland Claims Correspondence ‐ Phelan & O'Brien       EMAIL     Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010953   AONCPLSONIC‐0010958 ‐ AONCPLSONIC‐0010962   10/1/2018                                                                                                                                                                                        2018 10 02 ‐ Vero seeking recovery from CPL ‐ phelan.pdf                                                                    PDF       Attorney/Client   and/or cooperation clause.
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      AONCPLSONIC‐0010953   AONCPLSONIC‐0010963 ‐ AONCPLSONIC‐0010964   8/20/2018                                                                                                                                                                                        2018 08 21 ‐ Vero Letter ‐ Obrien.pdf                                                                                       PDF       Attorney/Client   and/or cooperation clause.
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                                                                                                                                                                                                     Peter Berardinucci
                                                                                                                                                                                                     [peter.berardinucci@aon.com];Sheridan A. Foster
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                                                                                                                                                                                                     (jdeweese@germer‐austin.com) [jdeweese@germer‐                                                                                                                                                Confidential and privileged attorney‐client communication involving CPL/SHUSA and
                                                                                                                                                                                                     austin.com];Gail Johnson (gjohnson@germer‐                                                                                                                                                    outside counsel made for the purpose of, or in furtherance to the rendering of,
YES   AONCPLSONIC‐0010965   AONCPLSONIC‐0010965 ‐ AONCPLSONIC‐0010967   2/26/2019 Jakob Onken        Jakob Onken [jakob.onken@aon.com]                     Mark Beaman [mbeaman@germer‐austin.com]   austin.com) [gjohnson@germer‐austin.com]          0000000036C54A489D109242BC9382779EB9EE1E24B72000.MSG       RE: CPL/Homeland ‐ Inquiry from Zurich                 EMAIL   Attorney/Client   professional legal advice.


                                                                                                                                                                                                     Mark Beaman [mbeaman@germer‐austin.com];Peter
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                                                                                                                                                                                                     Young (Gordon.Young@sonichealthcare.com)                                                                                                                                                      outside counsel made for the purpose of, or in furtherance to the rendering of,
      AONCPLSONIC‐0010965   AONCPLSONIC‐0010968 ‐ AONCPLSONIC‐0010969   2/11/2019 Sheridan A. Foster Sheridan A. Foster [sfoster@sonichealthcareusa.com]   Jakob Onken [jakob.onken@aon.com]         [Gordon.Young@sonichealthcare.com]                FW_ Ireland Claims Correspondence ‐ Phelan & O'Brien       FW: Ireland Claims Correspondence ‐ Phelan & O'Brien   EMAIL   Attorney/Client   professional legal advice.
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      AONCPLSONIC‐0010965   AONCPLSONIC‐0010970 ‐ AONCPLSONIC‐0010974   10/1/2018                                                                                                                                                                      2018 10 02 ‐ Vero seeking recovery from CPL ‐ phelan.pdf                                                          PDF     Attorney/Client   and/or cooperation clause.
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      AONCPLSONIC‐0010965   AONCPLSONIC‐0010975 ‐ AONCPLSONIC‐0010976   8/20/2018                                                                                                                                                                      2018 08 21 ‐ Vero Letter ‐ Obrien.pdf                                                                             PDF     Attorney/Client   and/or cooperation clause.
